                    UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                 CIVIL ACTION NO. 3:20-CV-00504-FDW-DSC

CPI SECURITY SYSTEMS, INC.,

                              Plaintiff,

             v.                            PLAINTIFF CPI SECURITY
                                           SYSTEMS, INC.’S AMENDED
VIVINT SMART HOME, INC. f/k/a
                                           TRIAL EXHIBIT LIST (WITH
Mosaic Acquisition Corp.; and LEGACY
                                           DEFENDANTS’ OBJECTIONS)
VIVINT SMART HOME, INC. f/k/a
Vivint Smart Home, Inc.,

                           Defendants.


Objections Key

A:   authenticity
C:   confidential
F:   foundation
FM:  form (argumentative, asked and answered, compound, leading, hypothetical,
     narrative, vague, misstates testimony, calls for legal conclusion)
H:   hearsay
IA:  inadmissible
IC:  incomplete testimony
IR:  improper refreshing of recollection
MIL: subject of motion in limine
R:   relevance
UP: unduly prejudicial
NR: nonresponsive
NAR: narrative response
MTS: subject of motion to strike
P:   privileged
NP: not produced in discovery
S:   improper summary
CU: cumulative/repetitive
DD: see Deposition/Discovery Designation Objections (incorporated by reference)
PBA: prior bad acts/inadmissible character evidence
SD: settlement discussions
WNP: written objections not provided by Defendants



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                                           Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                         Auth.     Admiss.

Compilation Exhibits
1    Compilation of CPI contract                               F, A, H,
     documents for testifying customer                         R, CU, S
     witnesses disclosed by CPI
2    Compilation of all MasterMind                             F, A, H,
     printouts for each of the disclosed                       R, CU, S
     testifying witnesses
3    Compilation of the 24 Audio Calls                         F, A, H,
     supplied to Dr. Winer                                     R, MIL,
                                                               CU, S, IC
4     Compilation of the Transcripts                           F, A, H,
      relating to the 24 Audio Calls                           R, MIL,
      supplied to Dr. Winer                                    CU, S, IC
CPI Customer Depositions and Exhibits
5     Deposition of Laura Ward, taken      X                   F, H, DD
      7/20/21
6     Ward Depo Ex. 1 – Vivint Contract    X                   F
      – Bates Numbers VIVINT007172 –
      VIVINT007173
7     Deposition of Ginger Garren, taken   X                   F, H, DD
      8/19/21
8     Garren Depo Ex. 1 – CPI Contract     X                   F, R
      – Bates Numbers CPI00000294 –
      CPI00000300
9     Deposition of Joyce Mariso, taken    X                   F, H, R,
      8/19/21                                                  DD
10    Mariso Depo Ex. 1 – CPI Contract     X                   F, R
      – Bates Numbers CPI00000376 –
      CPI00000377
11    Mariso Depo Ex. 2 – Vivint                               A, F, H, R
      Contract – Bates Numbers
      VIVINT007847 – VIVINT007848
12    Deposition of Shantell Cheek,        X                   F, H, R,
      taken 8/19/21                                            DD
13    Cheek Depo Ex. 1 – CPI Contract –                        A, F, R, H
      Bates Numbers CPI00000405 –
      CPI00000411
14    Deposition of Johgre Hinton, taken   X                   F, H, R,
      8/20/21                                                  DD
15    J. Hinton Depo Ex. 2 – Mr.           X                   R
      Hinton’s LinkedIn profile page –
      Non-bated
16    J. Hinton Depo Ex. 3 – CPI           X                   R
      Contract – Bates Number
      CPI00000242
17    J. Hinton Depo Ex. 4 – Vivint        X                   R
      Contract – Bates Numbers
      VIVINT0000582 – VIVINT0000583
18    J. Hinton Depo Ex. 5 –                                   F, A, H, R
      CPI00000244– Account Lookup



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                                         Stip of   Stip of   Objections   Identified By   Admitted
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       Info; Customer Info; Site Info; Site
       History; System Info; Payment
       History;
19     J. Hinton Depo Ex. 6 – CPI                      F, A, H, R
       monthly chart sheet
20     Deposition of Janet Newmark,         X          F, H, R,
       taken 8/25/21                                   DD
21     Deposition of Larry Kodack, taken    X          F, H, R,
       8/25/21                                         DD
22     Kodack Depo Ex. 1 – CPI Contract     X          F, R
       –CPI00000066 - CPI00000067
23     Kodack Depo Ex. 2 – CPI Updated      X          F, R
       Contract –CPI000090064
24     Kodack Depo Ex. 3 – Audio            X          H, R
       Recording of Telephone Call from
       Lawrence Kodack to CPI Security –
       CPI00000054
Vivint Employee and Former Employee Depositions and Exhibits
25     Deposition of Jason Corbridge,       X          F, H, R,
       taken 6/23/21                                   DD
26     Corbridge Depo Ex. 1 – Best          X          F, R, H,
       Memorial Day Performances –                     CU, DD
       Bates Number VIVINT00000660
27     Corbridge Depo Ex. 2 – The 2018      X          F, R, H,
       200+ club – Bates Number                        CU, DD
       VIVINT00000678
28     Corbridge Depo Ex. 3 – DC North      X          F, R, H,
       eyes CUP title – Bates Number                   CU, DD
       VIVINT00000690
29     Corbridge Depo Ex. 4 – Training      X          F, R, H,
       Day Podium – Bates Number                       CU, DD
       VIVINT00000711
30     Corbridge Depo Ex. 5 – Who won       X          F, R, H,
       the Reindeer Games? – Bates                     CU, DD
       Number VIVINT00000718
31     Corbridge Depo Ex. 6 – Zero to       X          F, R, H,
       Sixty Podium – Bates Number                     CU, DD
       VIVINT00000639
32     Corbridge Depo Ex. 7 – Deponent’s               F, A, R,
       LinkIn page – No bates numbers                  H, DD
33     Corbridge Depo Ex. 8 – Pleading in              F, A, R,
       the case of ADT vs. NorthStar                   H, IA,
       Alarm Services – No bates                       DD, MIL
       numbers
34     Deposition of Scott Brown, taken     X          F, H, R,
       8/24/21                                         DD
35     Brown Ex. 1 – 3/10/17 Email –        X          F, H, R,
       Bates Number VIVINT-111556                      DD




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                                          Stip of   Stip of   Objections   Identified By   Admitted
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36     Brown Ex. 2 – 2017 Training                            F, A, H,
       Manual – Bates Numbers VIVINT-                         R, DD,
       111557 – VIVINT-111592                                 MIL
37     Deposition of John Taylor, taken    X                  F, H, R,
       8/24/21                                                DD
38     Taylor Depo Ex. 1 – 2017 Training                      F, A, H,
       Manual – Bates Numbers VIVINT-                         R, DD,
       111557 – VIVINT-111592                                 MIL
39     Deposition of Cheyenne Thatcher,    X                  F, H, R,
       taken 8/24/21                                          DD
40     Thatcher Depo Ex. 1 – 3/2/17 Email X                   F, H, R,
       – Bates Number – Bates Number                          DD
       VIVINT-111725
41     Thatcher Depo Ex. 2 – 3/3/17 Email X                   F, R, DD
       – Bates Number VIVINT-111724
42     Thatcher Depo Ex. 3 – 2017                             F, A, H,
       Training Manual – Bates Numbers                        R, DD,
       VIVINT-111557 – VIVINT-111592                          MIL
43     Deposition of Jared Young, taken    X                  F, H, R,
       8/24/21                                                DD
44     Young Depo Ex. 1 – 3/31/17 Email    X                  F, R, DD
       – Bates Number VIVINT-118707
45     Young Depo Ex. 2 - 2017 Training                       F, A, H,
       Manual – Bates Numbers VIVINT-                         R, DD,
       111557 – VIVINT-111592                                 MIL
46     Deposition of Mark Fransen, taken X                    F, H, R,
       8/24/21                                                DD
47     Fransen Depo Ex. 1 – 3/31/17        X                  F, H, R,
       Email – Bates Number VIVINT-                           CU, DD
       118707
48     Fransen Depo Ex. 2 – 2017                              F, A, H,
       Training Manual – Bates Numbers                        R, DD,
       VIVINT-111557 – VIVINT-111592                          MIL
49     Deposition of Scott Bell, taken     X                  F, H, R,
       8/31/21                                                DD
50     Bell Depo Ex. 1 – Miscellaneous                        F, A, H,
       documents, dialogue, screen shots                      R, DD,
       regarding ADT from Scott Bell –                        IA, MIL
       Bates Numbers: Scott Bell/Vivint-
       3rd Party Subpoenas 001 – Scott
       Bell/Vivint-3rd Party Subpoenas
       071
51     Deposition of David Steinbach       X                  F, H, R,
       taken 8/13/2021                                        DD
52     Deposition of David Madrid taken    X                  F, H, R,
       8/13/2021                                              DD, MIL
53     Madrid Depo Ex. 1 – Vivint                             F, A, H,
       SmartHome Sales Training                               R, DD,
       Manual 2017                                            MIL
Vivint’s Discovery Responses and Disclosures



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                                                Stip of   Stip of   Objections   Identified By   Admitted
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54                                              X                   F, R, CU,
       Defendants’ Initial Disclosures
                                                                    DD
55     Defendants’ First Supplement to          X                   F, R, CU,
       Initial Disclosures, 08/16/2021                              DD
56     Defendants’ Second Supplement to         X                   F, R, CU,
       Initial Disclosures, 08/18/2021                              DD
57     Defendants’ Third Supplement to          X                   F, R, CU,
       Initial Disclosures, 08/31/2021                              DD
58     Defendants Vivint Smart Home,            X                   F, R, CU,
       Inc. and Legacy Vivint Smart                                 DD
       Home, Inc.’s Answers and
       Objections to Plaintiff’s First Set of
       Interrogatories, 02/08/2021
59     Defendants Vivint Smart Home,            X                   F, R, CU,
       Inc. and Legacy Vivint Smart                                 DD
       Home, Inc.’s Supplemental
       Answers and Objections to
       Plaintiff’s First Set of
       Interrogatories, 04/22/2021
60     Defendants Vivint Smart Home,            X                   F, R, CU,
       Inc. and Legacy Vivint Smart                                 DD
       Home, Inc.’s Second Supplemental
       Answers and Objections to
       Plaintiff’s First Set of
       Interrogatories, 05/26/2021
61     Defendants Vivint Smart Home,            X                   F, R, CU,
       Inc. and Legacy Vivint Smart                                 DD
       Home, Inc.’s Answers and
       Objections to Plaintiff’s Second Set
       of Interrogatories, 08/02/2021
62     Defendants Vivint Smart Home,            X                   F, R, CU,
       Inc. and Legacy Vivint Smart                                 DD
       Home, Inc.’s Responses and
       Objections to Plaintiff’s First Set of
       Requests for Production,
       02/08/2021
63     Defendants Vivint Smart Home,            X                   F, R, CU,
       Inc. and Legacy Vivint Smart                                 DD, P
       Home, Inc.’s First Privilege Log re
       Responses to Plaintiff’s First Set of
       Requests for Production,
       02/08/2021
64     Defendants Vivint Smart Home,            X                   F, R, CU,
       Inc. and Legacy Vivint Smart                                 DD
       Home, Inc.’s Supplemental
       Responses and Objections to
       Plaintiff’s First Set of Requests for
       Production, 04/22/2021
65     Defendants’ Responses and                X                   F, R, CU,
       Objections to Plaintiff’s Second Set                         DD




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                                               Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                             Auth.     Admiss.

      of Requests for Production,
      5/5/2021
66    Defendants Vivint Smart Home,            X                   F, R, CU,
      Inc. and Legacy Vivint Smart                                 DD
      Home, Inc.’s Second Supplemental
      Responses and Objections to
      Plaintiff’s First Set of Requests for
      Production, 05/26/2021
67    Defendants Vivint Smart Home,            X                   F, R, CU,
      Inc. and Legacy Vivint Smart                                 DD
      Home, Inc.’s Third Supplemental
      Responses and Objections to
      Plaintiff’s First Set of Requests for
      Production, 06/07/2021
68    Defendants Vivint Smart Home,            X                   F, R, CU,
      Inc. and Legacy Vivint Smart                                 DD
      Home, Inc.’s Fourth Supplemental
      Responses and Objections to
      Plaintiff’s First Set of Requests for
      Production 06/25/2021
69    Defendants Vivint Smart Home,            X                   F, R, CU,
      Inc. and Legacy Vivint Smart                                 DD
      Home, Inc.’s Fifth Supplemental
      Responses and Objections to
      Plaintiff’s First Set of Requests for
      Production, 08/09/2021
70    Defendants’ Privilege Log re 5th         X                   F, R, CU,
      Supplemental Responses and                                   DD, P
      Objections to Plaintiff’s First Set of
      Requests for Production, 09/2021
71    Defendants Vivint Smart Home,            X                   F, R, CU,
      Inc. and Legacy Vivint Smart                                 DD
      Home, Inc.’s Responses and
      Objections to Plaintiff’s Third Set
      of Requests for Production,
      08/02/2021
CPI Trademarks
72    CPI Trademark CPI00000026                X                   F, R
73    Warning CPI Security Systems             X                   F, R
      Logo Trademark CPI00000027
74    InTouch Trademark CPI00000028            X                   F, R
75    CPI Security (Bold) Trademark            X                   F, R
      CPI00000029
76    CPI Security. Protection You Can         X                   F, R
      Count On. Conveniences You Will
      Love CPI00000031
77    InTouch Trademark CPI00000033            X                   F, R
78    CPI Smartpay Trademark                   X                   F, R
      CPI00000035
79    Warning CPI Security System              X                   F, R
      Trademark CPI00000037


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                                          Stip of   Stip of   Objections   Identified By   Admitted
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Documents Produced by CPI
80   CPI00000001 – Cancel Call Process    X                   F, R
     Flyer210108
81   CPI00000002 – CFL Training           X                   F, R
     Materials – Cancellations
82   CPI00000006 – CFL Training           X                   F, R
     Materials – Saves
83   CPI00000013 – CompV Value            X                   F, H,
     Props 2021                                               MIL, R,
                                                              PBA, UP
84     CPI00000014 – CPI Email Sends      X                   F, H,
                                                              MIL, R,
                                                              PBA, UP
85     CPI00000020 – Door Knocker         X                   F, H,
       Scam Alert                                             MIL, R,
                                                              PBA, UP
86     CPI00000022 – Email Send           X                   F, H,
       Summary                                                MIL, R,
                                                              PBA, UP
87   CPI00000582 – CPI Security           X                   F, R
     Systems, Inc. Total Marketing
     Costs and Summary Financial
     Information
88   CPI00001882 – Schedule Relating      X                   F, R, H,
     to Current and Former CPI                                S, IC
     Customers Identified in Vivint
     Records
89   Video from Customer Cornelia                             F, A, R
     Johnson’s CPI Doorstep Camera –
     CPI00001883
Documents Produced by Vivint
90   Vivint Customer Complaint Notes      X                   F, H, R,
     for Potential former CPI                                 S, CU,
     Customers – VIVINT0001352                                MIL
91   Spreadsheet of Customer Names        X                   F, H, R,
     Corresponding to VIVINT00001352                          S, CU,
                                                              MIL
92     VIVINT Feedback Spreadsheet for    X                   F, H, R,
       CPI Customers – VIVINT00019961                         S, CU,
                                                              MIL
93     VIVINT001647 – Top Sales Reps in   X                   F, R
       CPI Territories
94     VIVINT001698 – Regional and        X                   F, R
       Divisional Sales Managers
       (Sept 11, 2016-present)
95     Vivint0002660 – Vivint Vimeo       X                   F, R, S,
       Video Access Links                                     CU
96     Vivint00026739 – Vivint Legal      X                   F, H, R,
       Investigation Spreadsheet CODES                        S, CU,
       REDACTED                                               PBA, MIL



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                                           Stip of   Stip of   Objections   Identified By   Admitted
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97    VIVINT009794 – Vivint BBB            X                   MIL, H,
      Complaint Analysis (June 2014)                           PBA
98    VIVINT015082 – VIVINT00026665        X                   F, R, CU,
      to 26733 Mosaic Acquisition Corp,                        Illegible
      ad Vivint Smart Home Inc.
      Investor Presentation October 2019
99    VIVINT015203 – Vivint Buyout         X                   F, R, H,
      Analysis                                                 CU, IC
100   VIVINT020565_ Email Chain re         X                   F, R
      Buyout Program
101   VIVINT021472 – NIS Compliance        X                   F, R, H,
      email dated 10/10/2017                                   PBA
102   VIVINT021542 Email with Link to      X                   F, R, P,
      Video Provided by Marc Bartalini                         MIL
      to Vivint
103   VIVINT021542_z – Video in Link –     X                   F, R, MIL
      Video Provided by Marc Bartalini
      to Vivint - https-video.nest.com-
      clip-b710058e6895…
104   Barry Holmes Customer Records        X                   F, R, H,
      VIVINT0004427 WAV                                        MIL
105   Barry Holmes Customer Records        X                   F, R, H,
      VIVINT004429                                             MIL
106   Barry Holmes Customer Records        X                   F, R, H,
      VIVINT004431                                             MIL
107   VIVINT021700 – Vivint Customer       X                   F, R, CU,
      Names for Potential Former CPI                           MIL
      Customers
108   Kiara Turner and Courtney Nesbit     X                   F, R, H,
      Customer Records                                         MIL
      VIVINT017435 – Email Cancel
      with Compensation
109   Kiara Turner and Courtney Nesbit     X                   F, R, H,
      Customer Records                                         MIL
      VIVINT019535 – Request for
      refund and Fortiva account be
      closed
110   Laura Ward Pre Install 1.mp4         X                   F, R
111   Laura Ward Pre Install 2.mp4         X                   F, R
112   Laura Ward Pre Install 3.mp4         X                   F, R
113   Laura Ward Pre Install 4.mp4         X                   F, R
114   Laura Ward Pre Install 5.mp4         X                   F, R
115   Laura Ward Pre Install 6.mp4         X                   F, R
116   Laura Ward Pre Install 7.mp4         X                   F, R
117   Laura Ward Pre Install 8.mp4         X                   F, R
118   Laura Ward Pre Install 9.mp4         X                   F, R
119   Laura Ward Pre Install 10.mp4        X                   F, R
Emails from Defense Counsel
120   E-mail dated 6/23/21 regarding       X                   F, R, H,
      CPI “Compliance List” Document                           IC, CU



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                                          Stip of   Stip of   Objections   Identified By   Admitted
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121    E-mail from Defense Counsel dated X                    F, R, H,
       5/25/21 regarding Customer index                       IC, CU
       relating to VIVINT00001352 dated
       4/22/21
Vivint SEC Filings
122    Vivint 2017 Quarterly Report –     X                   R, CU
       0001193125-17-358459
123    Vivint 2018 Annual Report –        X                   R, CU
       0001193125-18-099755
124    Vivint 2019 Annual Report –        X                   R, CU
       0001193125-19-077650
125    Vivint 2020 Annual Report –        X                   R, CU
       0001193125-120-073113
126    Vivint 2021 Annual Report –        X                   R, CU
       0001713952-21-000006
127    Vivint 2021 Amended Annual         X                   R, CU
       Report – 0001713952-21-000013
Vivint Emails and Other ESI Produced by Vivint
128    Vivint003216 — 5/20/21 Emails      X                   F, R, H,
       between Brett Walker (customer                         MIL, IC,
       Loyalty Supervisor) and Elise                          CU
       Anderson (Case Manager-Gift Card
       Fulfillment)
129    Vivint003225 — 5/20/21 Emails      X                   F, R, H,
       between Brett Walker (customer                         MIL, IC,
       Loyalty Supervisor) and Ingrid                         CU
       Butron regarding Competitive
       Response 6/7/2019 email
130    Vivint005941 — 6/4/19 Email        X                   F, R, H,
       regarding customers contract                           MIL, IC,
       getting rejected for gift card                         CU
131    Vivint006763 — 5/14/19 Emails      X                   F, R, H,
       regarding Justin Liles                                 MIL, IC,
                                                              CU
132    VIVINT007415 to 7418 – Email       X                   F, R, H,
       dated 6/27/2018 regarding Maria                        MIL, IC,
       Merado                                                 CU
133    VIVINT007419 to 7421 - Email       X                   F, R, H,
       dated 6/27/18 regarding Maria                          MIL, IC,
       Merado S-6269229                                       CU
134    VIVINT008215 to 8217 – Email       X                   F, R, H,
       dated 11/7/19 regarding Customer                       MIL, IC,
       Buyout                                                 CU
135    VIVINT008318 to 8319 – Email       X                   F, R, H,
       dated 7/19/19 regarding Tayna                          MIL, IC,
       Wilkins S-6462502                                      CU
136    VIVINT009022 to 9024 – Email       X                   F, R, H,
       dated 7/19/19 regarding Tayna                          MIL, IC,
       Wilkins S-6462502                                      CU




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                                             Stip of   Stip of   Objections   Identified By   Admitted
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137    VIVINT010593 to 10654 Vivint          X                   F, R, H,
       BBB Complaint analysis June 2014                          MIL, IC,
                                                                 CU
138    VIVINT012609 to 12670 Vivint          X                   F, R, H,
       BBB Complaint analysis June 2014                          MIL, IC,
                                                                 CU
139    VIVINT014413 to 14474 Vivint          X                   F, R, H,
       BBB Complaint analysis June 2014                          MIL, IC,
                                                                 CU
140    VIVINT015202 – Email dated            X                   F, R, H,
       2/6/2020 Update to Elite CRM                              IC, CU
141    VIVINT015204 to 15206 – Email         X                   F, R, H,
       dated 2/6/2020 Update to Elite                            IC, CU
       CRM
142    VIVINT015208 to 15210 – Email         X                   F, R, H,
       dated 3/2/2020 Update to Elite                            MIL, IC,
       CRM                                                       CU
143    VIVINT015212 – Latest report for      X                   F, R, H,
       big buyouts                                               IC, CU
144    VIVINT016779 to 16781 – Email         X                   F, R, H,
       dated 6/6/2018 re: Christian Garcia                       MIL, IC,
       S-6184752                                                 CU
145    VIVINT016809 to 16810 – Email         X                    F, R, H,
       dated 6/4/2018 re: Christian Garcia                       MIL, IC,
       S-6184752                                                 CU
146    VIVINT016811 to 16812 – Email         X                   F, R, H,
       dated 6/4/2018 re: Christian Garcia                       MIL, IC,
       S-6184752                                                 CU
147    VIVINT016813 to 16814 – Email         X                   F, R, H,
       dated 6/5/2018 re: Christian Garcia                       MIL, IC,
       S-6184752                                                 CU
148    VIVINT016815 to 16817 – Email         X                   F, R, H,
       dated 6/6/2018 re: Christian Garcia                       MIL, IC,
       S-6184752                                                 CU
149    VIVINT016910 to 16911 – Email         X                   F, R, H,
       dated 8/13/2019 re: Tanya Wilkins                         MIL, IC,
       S-6462502                                                 CU
150    VIVINT016940 to 16941 – Email         X                   F, R, H,
       dated 11/8/2018 re: S-5772309 /                           MIL, IC,
       Buyout                                                    CU
151    VIVINT016942 to 16943 – Email         X                   F, R, H,
       dated 11/8/2018 re: S-5772309 /                           MIL, IC,
       Buyout                                                    CU
152    VIVINT016944 to 16946 – Email         X                   F, R, H,
       dated 11/8/2018 re: S-5772309 /                           MIL, IC,
       Buyout                                                    CU
153    VIVINT016947 to 16950 – Email         X                   F, R, H,
       dated 11/8/2018 re: S-5772309 /                           MIL, IC,
       Buyout                                                    CU




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154    VIVINT016951 to 16953 – Email       X                   F, R, H,
       dated 11/8/2018 re: S-5772309 /                         MIL, IC,
       Buyout                                                  CU
155    VIVINT016954 to 16956 – Email       X                   F, R, H,
       dated 11/8/2018 re: S-5772309 /                         MIL, IC,
       Buyout                                                  CU
156    VIVINT016957 to 16959 – Email       X                   F, R, H,
       dated 11/8/2018 re: S-5772309 /                         MIL, IC,
       Buyout                                                  CU
157    VIVINT016960 to 16963 – Email       X                   F, R, H,
       dated 11/9/2018 re: S-5772309 /                         MIL, IC,
       Buyout                                                  CU
158    VIVINT016964 to 16966 – Email       X                   F, R, H,
       dated 11/9/2018 re: S-5772309 /                         MIL, IC,
       Buyout                                                  CU
159    VIVINT016967 to 16969 – Email       X                   F, R, H,
       dated 11/9/2018 re: S-5772309 /                         MIL, IC,
       Buyout                                                  CU
160    VIVINT016970 to 16973 – Email       X                   F, R, H,
       dated 11/9/2018 re: S-5772309 /                         MIL, IC,
       Buyout                                                  CU
161    VIVINT016992 to 16995 – Email       X                   F, R, H,
       dated 11/12/2018 re: 5-5772309                          MIL, IC,
                                                               CU
162    VIVINT016996 to 16998 – Email       X                   F, R, H,
       dated 11/20/2018 re: S-5772309                          MIL, IC,
                                                               CU
163    VIVINT016999 to 17002 – Email       X                   F, R, H,
       dated 11/26/2018 re: Temp AS-                           MIL, IC,
       5772309                                                 CU
164    VIVINT017941 to 17943 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
165    VIVINT017944 to 17946 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
166    VIVINT017947 to 17949 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
167    VIVINT017950 to 17952 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
168    VIVINT017953 to 17955 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
169    VIVINT017956 to 17958 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
170    VIVINT017959 to 17961 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU


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                                           Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                         Auth.     Admiss.

171    VIVINT017962 to 17964 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
172    VIVINT017965 to 17967 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
173    VIVINT017968 to 17970 – Email       X                   F, R, H,
       dated 6/27/2018 re: HOLD $ 750.00                       MIL, IC,
       Maria Mercado S-6269229                                 CU
174    VIVINT020501 to 20506 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
175    VIVINT020507 to 20511 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
176    VIVINT020512 to 20517 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
177    VIVINT020518 to 20523 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       MIL, IC,
       S-6269229                                               CU
178    VIVINT020524 to 20528 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
179    VIVINT020529 to 20532 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
180    VIVINT020535 to 20540 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
181    VIVINT020541 to 20546 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
182    VIVINT020547 to 20551 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
183    VIVINT020557 to 20562 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
184    VIVINT020563 to 20564 – Email       X                   F, R, H,
       dated 8/13/2019 re: Tanya Wilkins                       IC, CU,
       S-6462502                                               MIL
185    VIVINT020565 to 20567 – Email       X                   F, R, H,
       dated 7/19/2019 re: Tanya Wilkins                       IC, CU,
       S-6462502                                               MIL
186    VIVINT020980 to 20983 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
187    VIVINT020984 to 20988 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL


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                                           Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                         Auth.     Admiss.

188    VIVINT020989 to 20994 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
189    VIVINT020995 to 21000 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
190    VIVINT021001 to 21004 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
191    VIVINT021007 to 21011 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
192    VIVINT021012 to 21017 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
193    VIVINT021018 to 21023 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
194    VIVINT021024 to 21028 – Email       X                   F, R, H,
       dated 6/27/2018 re: Maria Mercado                       IC, CU,
       S-6269229                                               MIL
195    VIVINT021029 – Email dated          X                   F, R, H,
       6/27/2018 re: Maria Mercado S-                          IC, CU,
       6269229                                                 MIL
196    VIVINT021114 to 21115 – Email       X                   F, R, H,
       dated 10/7/2020 re: CPI takeout                         IC, CU,
                                                               MIL
197    VIVINT021116 to 21117 – Email       X                   F, R, H,
       dated 10/7/2020 re: CPI takeout                         IC, CU,
                                                               MIL
198    VIVINT021250 to 21251 – Email       X                   F, R, H,
       dated 10/7/2020 re: CPI takeout                         IC, CU,
                                                               MIL
199    VIVINT021252 to 21253 – Email       X                   F, R, H,
       dated 10/7/2020 re: CPI takeout                         IC, CU,
                                                               MIL
200    VIVINT021254 to 21255 – Email       X                   F, R, H,
       dated 10/7/2020 re: CPI takeout                         IC, CU,
                                                               MIL
201    VIVINT021256 to 21257 – Email       X                   F, R, H,
       dated 10/7/2020 re: CPI takeout                         IC, CU,
                                                               MIL
202    VIVINT021275 – Liam Brennan -       X                   F, R, H,
       Sales                                                   IC, MIL
203    VIVINT0000139(1) – Brandon Bell     X                   F, R, H,
       call (Chandrea Bell)                                    CU, IC,
                                                               MIL
204    VIVINT00000639 – 02/27/2018         X                   F, R, H,
       Zero to Sixty Podium                                    CU, DD




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                                              Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                            Auth.     Admiss.

205    VIVINT00000660 – 05/29/2018            X                   F, R, H,
       Biggest Memorial Day                                       CU, DD
       Performances
206    VIVINT00000678 – 07/30/2018 The        X                   F, R, H,
       2018 200+ Club                                             CU, DD
207    VIVINT00000687 – 08/27/2018 DC         X                   F, R, H,
       North Wins D1 Cup                                          CU
208    VIVINT00000690 – 08/18/2018 DC         X                   F, R, H,
       North Eyes Cup Title                                       CU, DD
209    VIVINT00000711 – 11/20/2018            X                   F, R, H,
       Training Day Podium                                        CU, DD
210    VIVINT00000718 – 12/26/2018            X                   F, R, H,
       Who Won the Reindeer Games?                                CU, DD
211    VIVINT00000733 – 2018                  X                   F, H, R,
       Competitions Rule Book                                     CU
212    VIVINT00000742 – Spreadsheet           X                   F, H, R,
       Entitled DREAM TEAM 2019                                   MIL
213    VIVINT00000751 – Spreadsheet           X                   F, H, R,
       Entitled Madness Dream Team                                MIL
       Champs
214    VIVINT00000878 to 879 –                X                   F, R, IC,
       10/2/2019 Vivint email response to                         CU, MIL
       Consumer Protection Division re:
       Edwinna Carr
215    VIVINT00000880-893 – Consumer          X                   F, H, R,
       Protection Division letter to Vivint                       IC, CU,
       re: Edwinna Carr with original                             MIL
       complaint
216    VIVINT00001842-1859 – Jason            X                   F, H, R,
       Newby employment file                                      P, C
217    VIVINT00001945-1947 – emails           X                   F, H, R,
       with Exceptions Review Advocate                            IC, CU,
       and Thomas Wallace                                         MIL
218    VIVINT00001968 – 1/2/2021 Rhett        X                   F, H, R,
       Smith cancellation with                                    IC, CU,
       reimbursement email                                        MIL
219    VIVINT00001980 – 06/29/2020            X                   F, R, IC,
       Vivint legal response email re:                            CU, MIL
       Mary Thompson
220    VIVINT00001983-1986 –                  X                   F, H, R,
       02/13/2020 letter to Vivint re: Mary                       CU, MIL
       Thompson
221    VIVINT00002002-2005 – Advanced         X                   F, H, R,
       directive – Ellon Urbahns                                  CU, MIL
222    VIVINT00002009 – 05/27/2020            X                   F, H, R,
       email re cancelling Ellon Urbahn’s                         CU, MIL
       contract, POA was not present at
       signing of contract
223    VIVINT00002010-2014 - Ellon            X                   F, H, R,
       Urbahns POA                                                CU, MIL



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                                          Stip of   Stip of   Objections   Identified By   Admitted
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224    VIVINT00002032 – fines             X                   F, C, P, R
       spreadsheet
225    VIVINT-111556 – 3/10/2017          X                   F, H, R,
       Frandsen to Brown re attached                          DD, CU
       Vivint Sales Training Manual
226    VIVINT-111665 – 03/30/2017         X                   F, R, H,
       Keaton Crockett to Scott Brown                         IC, CU
       emails re Summer Manuals
227    VIVINT-111724 – 3/3/2017           X                   F, R, DD,
       Cheyenne Thatcher to her sales                         IC, CU
       region emails re New Rookie
       Training Manual w Flex Pay
228    VIVINT-111725 – 03/02/2017         X                   F, H, R,
       Amber Martindale email re New                          IC, DD,
       Rookie Training Manual w Flex                          CU
       Pay
229    VIVINT-118707 – 03/31/2017 Jared   X                   F, R, DD,
       Young email 2017 Training                              IC, CU
       Manual
Other
230   Stipulated Order For Permanent    X             MIL, PBA
      Injunction and Civil Penalty
      Judgment – United States of
      America v. Vivint Smart Home,
      Inc. (D. Utah), Case No. 2:21-cv-
      00267
Documents Produced in ADT LLC et al v. Vivint Smart Home, Inc. et al., Case No. 1:20-cv-23391-
MGC (SD Fla)
231   Chang Ring Doorbell Video –       X             MIL, PBA
      ADT00000153
232   Chang Affidavit re Ring Doorbell  X             MIL,
      Video – ADT00000146                             PBA, H
233   Vivint DSP Spreadsheet Produced   X             MIL, PBA
      After Court Order – Cust Docs 1
      Feedback since 120117 – CODES
      REDACTED
234   Vivint Legal Investigation        X             MIL, PBA
      Spreadsheet CODES REDACTED
235   VIVINT00026737 – Unredacted       X             MIL, PBA
      Feedback Spreadsheet for Certain
      Disclosed ADT Customers
236   Sales Rep Pay docs –              X             MIL
      VIVINT00003760-6205
237   Vivint Declaration of Caleb Banks X             MIL
      dated 08/16/2021
238   Vivint Rep Payscale Docs –        X             MIL
      VIVINT00003698-3759
239   Vivint Settlement Agreements in   X             MIL, SD
      DSP Cases – VIVINT00006452-
      6549



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                                             Stip of   Stip of   Objections   Identified By   Admitted
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240  Vivint Declaration of Clark Hymas X               MIL, PBA
     dated 05/17/2021 – Disciplinary
     Action Affidavit -
     VIVINT00006550-6558
241  VIVINT00026660 – Customer Docs X                  MIL
     1 Feedback since 120177
242  VIVINT00026664 – Sale Reps with X                 MIL
     Number of Services
243  VIVINT00026665 to 26733 Mosaic      X             MIL
     Acquisition Corp, ad Vivint Smart
     Home Inc. Investor Presentation
     October 2019 (better image quality
     but no bates stamp)
244  Spreadsheet of ADT Customer         X             MIL, PBA
     Complaints about Vivint Deceptive
     Sales Practices since December
     2017 Appended to ADT Complaint
     in Case No. 1:20-cv-23391 [Doc 1-1]
245  VIVINT00003660 Nitrous Winners X                  MIL
     1/20/2020
246  VIVINT00003661 Valentine’s Day      X             MIL
     Leaders 1/30/2020
247  VIVINT00003674 Insights:            X             MIL
     Brandon McGrew 6/8/2020
Documents Produced by NorthStar in Response to CPI Subpoena Duces Tecum
248    Deposition of Blake Mendenhall        X                   MIL
       taken 7/26/17
249    Deposition of Blake Mendenhall        X                   MIL
       taken 7/26/17
250    Deposition of Chelsey Hodgkinson      X                   MIL
       taken 7/27/17
251    Deposition of David Clem taken        X                   MIL
       7/27/17
252    Deposition of Nathan Wilcox taken     X                   MIL
       2/16/18
253    Wilcox Depo. Ex. 1 – Northstar’s      X                   MIL
       2nd Amended Notice of 30(6)(b)
       Deposition (2/9/2018)
254    Wilcox Depo. Ex. 2 – Vivint/Vision    X                   MIL
       Security Confidential Settlement
       Agreement Vivint_000001-40
255    Wilcox Depo. Ex. 3 – Bank Deposit     X                   MIL
       Worksheet Vivint_001392-1398
256    Wilcox Depo. Ex. 4 – 03/30/2015       X                   MIL
       ClydeSnow Letter to
       WeberEvanson – Notice of
       Violation re: Improper Sales Tactic
       Vivint_001426-1428
257    Wilcox Depo. Ex. 5 – 04/07/2015       X                   MIL
       WeberEvanson Letter to



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                                               Stip of   Stip of   Objections   Identified By   Admitted
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       ClydeSnow re: Response to
       Improper Sales Tactic
       Vivint_001402-1404
258    Wilcox Depo. Ex. 6 – 04.10.2015         X                   MIL
       ClydeSnow letter to EvansonWeber
       re: Selection of Arbitrator
       Vivint_001424
259    Wilcox Depo. Ex. 7 – 04/24/2015         X                   MIL
       ClydeSnow letter to Judge Medley
       re: Supplemental Notice for March
       30, 2015 Notice of Violation
       Vivint_001441-1455
260    Wilcox Depo. Ex. 8 – 05/08/2015         X                   MIL
       EvansonWeber letter to Judge
       Medley re: Supplemental Response
       Vivint_001405-1411
261    Wilcox Depo. Ex. 9 – 05/15/2015         X                   MIL
       ClydeSnow letter to Judge Medley
       re: Vivint’s rebuttal for March 30,
       2015 Notice of Violation
       Vivint_001429-1434
262    Wilcox Depo. Ex. 10 – Arbitration       X                   MIL
       Ruling and Award 06/22/2015
       Vivint_001377-1390
263    Wilcox Depo. Ex. 11 – 08/18/2015        X                   MIL
       EvansonWeber letter to ClydeSnow
       re: Response to Alleged Violations
       Vivint_001399-1401
264    Wilcox Depo. Ex. 12 – 08/19/2015        X                   MIL
       ClydeSnow letter to EvansonWeber
       re: Notice of Selection of Arbitrator
       for 8/6/2015 Notice of Violation
       Vivint_001425
265    Wilcox Depo. Ex. 13 – 09/02/2015        X                   MIL
       ClydeSnow letter to Judge Medley
       re: Supplemental Notice for
       8/6/2015 Notice of Violation
       Vivint_1419-1423
266    Wilcox Depo. Ex. 14 – 09/17/2015        X                   MIL
       EvansonWeber letter to Judge
       Medley re: Supplemental Response
       to Supplemental Notice dated
       9/2/2015 Vivint_001412-1418
267    Wilcox Depo. Ex. 15 – 09/24/2015        X                   MIL
       ClydeSnow letter to Judge Medley
       re: Vivint’s Rebuttal for the
       8/6/2015 Notice of Violation
       Vivint_001435-1440
268    Wilcox Depo. Ex. 16 – 11/03/2015        X                   MIL
       Arbitration Ruling and Award
       Vivint_001477-1488



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                                             Stip of   Stip of   Objections   Identified By   Admitted
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269    Wilcox Depo. Ex. 17 – 1st Amended     X                   MIL
       Complaint and Jury Demand
       02/29/2016
270    Wilcox Depo. Ex. 18 – Vivint’s 1st    X                   MIL
       Supplemental Responses to
       Northstar’s 1st Set of IROGS and
       RFPDs 10/14/2016
271    Wilcox Depo. Ex. 19 – Customer        X                   MIL
       List – Slam Spreadsheet
       Vivint_003544-3575
272    Wilcox Depo. Ex. 20 – Vivint’s        X                   MIL
       Initial Disclosures 04/08/2016
273    Wilcox Depo. Ex. 21 – 7th             X                   MIL
       Supplement to Vivint’s Initial
       Disclosures 01/04/2018
274    Wilcox Depo. Ex. 22 – 3rd             X                   MIL
       Supplement to Vivint’s Initial
       Disclosures 07/11/2017
275    Wilcox Depo. Ex. 23 – Customer        X                   MIL
       List – Vivint DSP claims/current
       Northstar customers
       Vivint_036323-036341
276    Wilcox Depo. Ex. 24 – 4th             X                   MIL
       Supplement to Vivint’s Initial
       Disclosures 05/15/2017
277    Wilcox Depo. Ex. 25 – 5th             X                   MIL
       Supplement to Vivint’s Initial
       Disclosures 09/29/2017
278    Wilcox Depo. Ex. 26 – Customer        X                   MIL
       List – Vivint customer credits
       (from DSP) Vivint_036350
279    Wilcox Depo. Ex. 27 – Customer        X                   MIL
       List – credit requests to
       departments Vivint_036351
280    Wilcox Depo. Ex. 28 – Customer        X                   MIL
       List – lost revenue/damages
       Vivint_036352
281    Wilcox Depo. Ex. 29 – Customer        X                   MIL
       List – equipment installation costs
       Vivint_036353-036358
282    Wilcox Depo. Ex. 30 – Customer        X                   MIL
       List – additional costs
       Vivint_036359-036361
283    Wilcox Depo. Ex. 31 – Customer        X                   MIL
       List – status of Northstar DSP
       complaints Vivint_036342-036346
284    Wilcox Depo. Ex. 32 – Customer        X                   MIL
       List – total contract amount after
       Northstar cancellation
       Vivint_036414-036417




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                                             Stip of   Stip of   Objections   Identified By   Admitted
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285    Wilcox Depo. Ex. 33 – Customer        X                   MIL
       List – actual damages described
       section 3 of Exhibit 25
       Vivint_036386-036387
286    Wilcox Depo. Ex. 34 – Customer        X                   MIL
       List – updated service fees/costs
       Vivint_036406-036413
287    Wilcox Depo. Ex. 35 – Customer        X                   MIL
       List – itemization of credits in
       Exhibit 33 Vivint_036384-036385
288    Wilcox Depo. Ex. 36 – Customer        X                   MIL
       List – itemization of equipment
       costs in Exhibit 33 Vivint_036390-
       036405
289    Wilcox Depo. Ex. 37 – Customer        X                   MIL
       List – loss of account revenue
       Vivint_036388-036389
290    Wilcox Depo. Ex. 38 – Customer        X                   MIL
       List – lost months of revenue
       Vivint_036366-036383
291    Wilcox Depo. Ex. 39 – 6th             X                   MIL
       Supplement to Vivint’s Initial
       Disclosures 10/04/2017
292    Wilcox Depo. Ex. 40 – Customer        X                   MIL
       List – slam complaints report
       generated by Vivint (V. Mack)
293    Wilcox Depo. Ex. 41- esign consent,   X                   MIL
       Veronica Mack Vivint_039623-
       039629
294    Wilcox Depo. Ex. 42 – 10/31/2017      X                   MIL
       Veronica Mack email to Kenyon
       Stinson Vivint_039634-039636
295    Wilcox Depo. Ex. 43 – e-sign          X                   MIL
       consent, Javier Herrera
       Vivint_039610-039613
296    Wilcox Depo. Ex. 44 – 08/02/2017      X                   MIL
       Hari Rasolo email to Michelle
       Klamm Vivint_039614-039615
297    Wilcox Depo. Ex. 45 – esign           X                   MIL
       consent, Jacqueline Chaet
       Vivint_039588-039594
298    Deposition of Rex Jensen taken        X                   MIL
       7/31/17
299    Jensen Depo. Ex. 1 – Customer         X                   MIL
       Loyalty Inbound Commission
       Policy Vivint_ 001193 to 001194
300    Jensen Depo. Ex. 2 – Commission       X                   MIL
       Structure dated October 11, 2016
       Vivint_ 001184 to 001192




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                                             Stip of   Stip of   Objections   Identified By   Admitted
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301    Jensen Depo. Ex. 3 –Customer          X                   MIL
       loyalty handbook – CL Policy
       Vivint_001089 to 001122
302    Jensen Depo. Ex. 4 – System Panel     X                   MIL
       Tamer Vivint_002942 to
       002962001288
303    Jensen Depo. Ex. 5 – Customer         X                   MIL
       Loyalty – Vivint Training
       Customer Loyalty dated 4/21/2016
       Vivint _001195 to 001288
304    Jensen Depo. Ex. 6 – Customer         X                   MIL
       Loyalty Handbook Vivint_001133
       to 001147
305    Jensen Depo. Ex. 7 – GriffinHill      X                   MIL
       dated 10/11/2016 Vivint_001148 to
       001183
306    Jensen Depo. Ex. 8 – GriffinHill      X                   MIL
       Vivint_001123 to 001132
307    Jensen Depo. Ex. 9 –                  X                   MIL
       Vivint_003544 to 003575
308    Vivint, Inc.’s Responses to           X                   MIL
       Northstar’s 3rd Set of Discovery
       Requests (10/20/17)
309    Vivint Inc.’s 1st Supplemental        X                   MIL
       Responses to Northstar’s 1st Set of
       Interrogatories and RPD (10/14/16)
310    Vivint Inc.’s Responses to            X                   MIL
       Northstar’s 1st Set of
       Interrogatories and RPD
       (06/27/2016)
311    Vivint Inc.’s Responses to            X                   MIL
       Northstar’s 2nd Set of
       Interrogatories and RPD
       (10/03/2016)
312    Vivint Inc.’s Initial Disclosures     X                   MIL
       (04/08/2016)
313    Vivint’s 1st Supplement to Initial    X                   MIL
       Disclosures (02/16/2017)
314    Vivint’s 2nd Supplement to Initial    X                   MIL
       Disclosures (02/22/2017)
315    Vivint’s 3rd Supplement to Initial    X                   MIL
       Disclosures (07/11/2017)
316    Vivint’s 4th Supplement to Initial    X                   MIL
       Disclosures (09/15/2017)
317    Vivint’s 5th Supplement to Initial    X                   MIL
       Disclosures (09/29/2017)
318    Vivint’s 6th Supplement to Initial    X                   MIL
       Disclosures (10/04/2017)
319    Vivint’s 7th Supplement to Initial    X                   MIL
       Disclosures (01/04/2018)



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                                          Stip of   Stip of   Objections   Identified By   Admitted
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320    Vivint’s
              8th  Supplement to Initial  X             MIL
       Disclosures (03/18/2019)
321    Vivint 41 to 70 – List of Slams    X             MIL
       Alleged by Vivint Against
       NorthStar
322    Vivint Slam Spreadsheet - Vivint   X             MIL
       3544 to 3575
323    1st Amended Complaint and Jury     X             MIL
       Demand (02/29/2016)
Customer Depositions and Exhibits in ADT LLC et al v. Vivint Smart Home, Inc. et al., Case No.
1:20-cv-23391-MGC (SD Fla)
324    Deposition of Ko-Chin Chang,       X             MIL
       taken 07/15/2021
325    Ring Doorbell Video Used During    X             MIL
       Deposition of Ko-Chin Chang
       ADT00000153
326    Deposition of Caren Haught, taken X              MIL
       04/12/2021
327    Haught Depo Ex. 1 – Haught         X             MIL
       contract ADT00002561
328    Deposition of Victor Howdyshall,   X             MIL
       taken 05/05/2021
329    Howdyshall Depo Ex. 1 –            X             MIL
       Howdyshall contract
       ADT00003632-3639 –
       ADT00010576
330    Howdyshall Depo Ex. 2 –            X             MIL
       Howdyshall Contract (update)
       ADT0010568
331    Howdyshall Depo Ex. 3 –            X             MIL
       Howdyshall contract
       VIVINT00001132
332    Deposition of Randall Koehn, taken X             MIL
       06/08/2021
333    Koehn Depo Ex. 1 – Koehn contract X              MIL
       ADT00002366
334    Koehn Depo Ex. 2 – Koehn contract X              MIL
       Protection 1 ADT00005414
335    Koehn Depo Ex. 3 – Audio           X             MIL
       recording VIVINT00002524
336    Koehn Depo Ex. 4 – Audio           X             MIL
       recording ADT00003620
337    Koehn Depo Ex. 5 – Koehn contract X              MIL
       Vivint00001636
338    Koehn Depo Ex. 6 – Koehn e-sign    X             MIL
       consent VIVINT00001239
339    Deposition of Juan Rubio, taken    X             MIL
       06/10/2021




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340  Juan Rubio Depo Ex. 6 – Billing       X      MIL
     History Report dated 05/17/2021
     ADT00003414
341  Juan Rubio Depo Ex. 7 – Audio         X      MIL
     recording, customer service (Ian)
     call, 0% financing and installation
     fee waived VIVINT00026663
342  Deposition of Paula Rubio, taken      X      MIL
     06/10/2021
343  Paula Rubio Depo Ex. 1 – Rubio        X      MIL
     contract ADT00005415
344  Paula Rubio Depo Ex. 2 – recorded X          MIL
     call
345  Paula Rubio Depo Ex. 3 – Rubio        X      MIL
     esign consent Vivint00001637
346  Paula Rubio Depo Ex. 4 – Rubio        X      MIL
     contract Vivint00001634 to 1635
347  Paula Rubio Depo Ex. 5 – Vivint       X      MIL
     Schedule of Equipment and
     Services Vivint00001636
348  Deposition of LaToya Ssali, taken     X      MIL
     05/18/2021
349  Ssali Depo Ex. 1 – ADT Contract       X      MIL
     ADT00002829
350  Ssali Depo Ex. 2 – ADT Contract       X      MIL
     ADT00002829
351  Ssali Depo Ex. 3 – Billing Services   X      MIL
     Reconciliations ADT00002821
352  Ssali Depo Ex. 4 – Vivint Sky         X      MIL
     Control Panel Picture
353  Ssali Depo Ex. 5 – Ssali contact      X      MIL
     Vivint00001709
Documents Related to Vivint’s Disclosed Experts
354  Deposition of Brian Buss taken        X      H
     10/8/2021
355  Buss Deposition Exhibit 1 – Expert X         H
     Report of Brian Buss dated August
     16, 2021
356  Buss Deposition Exhibit 2 – Expert X         H
     Report of Russell S. Winder, PhD
CPI Expert Witnesses’ Reliance Materials and Demonstratives
Dr. Russell Mangum III, Ph.D. Expert Report and Reliance Materials
357   Expert Report of Russell W.         X              H, MIL
      Mangum III, Ph.D., dated 7/9/2021
358   CPI Amended Complaint,              X              MIL
      11/12/2020
359   Defendants’ Answer Affirmative      X              MIL
      Defenses, and Counterclaims,
      11/18/2020
360   SEC Filing – Vivint 2020 10-K       X              MIL


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361    SEC Filing – Vivint 2020 1-S/A        X                   MIL
362    SEC Filing – Monitronics              X                   MIL
       International 2017 10-K
363    SEC Filing – Monitronics              X                   MIL
       International 2018 10-K
364    SEC Filing – Monitronics              X                   MIL
       International 2019 10-K
365    SEC Filing – Monitronics              X                   MIL
       International 2020 10-K
366    SEC Filing – ADT 2017 10-K            X                   MIL
367    SEC Filing – ADT 2018 10-K            X                   MIL
368    SEC Filing – ADT 2019 10-K            X                   MIL
369    SEC Filing – ADT 2020 10-K            X                   MIL
370    Publicly-Available Materials – CPI    X                   MIL
       Security, “About CPI,”
       https://cpisecurity.com/about/.
371    Publicly-Available Materials –        X                   MIL
       Vivint, “About Vivint,”
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372    Publicly-Available Materials –        X                   MIL
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373    Publicly-Available Materials –        X                   MIL
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374    Publicly-Available Materials – An     X                   MIL
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375    Publicly-Available Materials – An     X                   MIL
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       About Alarm Dealer Programs,"
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376    Publicly-Available Materials –        X                   MIL
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377    Publicly-Available Materials –        X                   MIL
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378   Publicly-Available Materials –       X             MIL
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      Inc.
      Glick, Mark A., Lara A. Reymann,
      and Richard Hoffman, Intellectual
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379   Publicly-Available Materials –       X             MIL
      Goolsbee, A., Levitt, S., &
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380   Publicly-Available Materials –       X             MIL
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      rces/Issues/2020/May/SDM-
      100/PDF/Top-Residential-
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381   Publicly-Available Materials –       X             MIL
      Statistics Canada, "Population
      estimates, quarterly,"
      https://www150.statcan.gc.ca/t1/tbl
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      surveys/decennial/2020/data/apport
      ionment/apportionment-2020-
      table02.xlsx
Dr. Russell Winer Ph.D. Expert Report and Reliance Materials
383   Dr. Russell Winer’s Expert Report    X             MIL, H
      dated July 9, 2021
384   Article – “What are Brands For?”,    X             MIL
      The Economist, 30 Aug. 2014
385   Article – Baumeister, Roy F.,        X             MIL
      Bratslaysky, Ellen, Finkenauer,
      Catrin, and Vohs, Kathleen D.
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386    Article – Customer Service and         X                   MIL
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       Customer Service from Mid-Size
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       Validating the "Tip-of-the-Iceberg"
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388    Article – Klaus, P., & Maklan, S.      X                   MIL
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       Brand Management 15(2) (2007):
       115-122
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       Incorporating Future
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390    Article – McDonald, M. H., De          X                   MIL
       Chernatony, L., & Harris, F.
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       moving consumer goods model",
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       following megamerger". Deseret
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No.    Description                            Auth.     Admiss.

394    Article – TARP (Technical              X                   MIL
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       America: An Updated Study", The
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       President for Consumer Affairs,
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395    Article – Winer, Russell S.            X                   MIL
       "Customer Relationship
       Management", in B. Schlegelmilch
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       Strategy, Routledge (2020): 55-66.
396    Produced Documents – email sent        X                   MIL
       to customers re DSP CPI00000014-
       19
397    Produced Documents – email sent        X                   MIL
       to customers re Important News
       from CPI CPI00000015
398    Produced Documents – email send        X                   MIL
       summary CPI00000022
399    Produced Documents – Ronald            X                   MIL
       Armstead call CPI00000040
400    Produced Documents – Jannelle          X                   MIL
       Blue-Faulkner call CPI00000041
401    Produced Documents – Amanda            X                   MIL
       Brown call CPI00000042
402    Produced Documents– Kenneth            X                   MIL
       Chambers call CPI00000044
403    Produced Documents– Keith Eason        X                   MIL
       Wimberly call CPI00000048
404    Produced Documents – Teresa            X                   MIL
       Finley CPI00000049
405    Produced Documents – Winnie            X                   MIL
       Fuller call CPI00000051
406    Produced Documents– Kristen            X                   MIL
       Quinn call CPI00000060
407    Produced Documents – 210108            X                   MIL
       Cancel Call Process Flyer
       CPI00000001
408    Produced Documents – CFL               X                   MIL
       Training Materials - Cancellations
       CPI00000002
409    Produced Documents – CFL               X                   MIL
       Training Materials - Saves
       CPI00000006
410    Produced Documents – CompV             X                   MIL
       Values Props 2021 CPI00000013
411    Produced Documents – CPI Email         X                   MIL
       Sends CPI00000014




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                                         Stip of   Stip of   Objections   Identified By   Admitted
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412    Produced Documents – Door         X                   MIL
       Knocker Scam Alert CPI00000020
413    Produced Documents – Email Send   X                   MIL
       Summary CPI00000022
414    Produced Documents – InTouch      X                   MIL
       App CPI00000023
415    Produced Documents – Panel        X                   MIL
       Tamper Alert CPI00000024
416    Produced Documents –              X                   MIL
       Armstead_9128841_Stowers.wav
       CPI00000040
417    Produced Documents – Blue-        X                   MIL
       Faulkner_9289899_Henderson.wav
       CPI00000041
418    Produced Documents –              X                   MIL
       Brown_9177473_Redd.wav
       CPI00000042
419    Produced Documents –              X                   MIL
       Bryant_7100123_Judge.wav
       CPI00000043
420    Produced Documents –              X                   MIL
       Chambers_9215641_Marley 2.wav
       CPI00000044
421    Produced Documents –              X                   MIL
       Chambers_9235641_Judge.wav
       CPI00000045
422    Produced Documents –              X                   MIL
       Chambers_9235641_Marley.wav
       CPI00000046
423    Produced Documents –              X                   MIL
       Dantuluri_9278986_Fuller.wav
       CPI00000047
424    Produced Documents –              X                   MIL
       Eason_9160511_Wimberly.wav
       CPI00000048
425    Produced Documents –              X                   MIL
       Finley_9287288_Caballero-
       Vazquez.wav CPI00000049
426    Produced Documents –              X                   MIL
       Floyd_9104326_Staton.wav
       CPI00000050
427    Produced Documents –              X                   MIL
       Fuller_9212349_Morris.wav
       CPI00000051
428    Produced Documents –              X                   MIL
       Hicks_9299447_Marley.wav
       CPI00000052
429    Produced Documents –              X                   MIL
       Kearney_9230594_Porter.wav
       CPI00000053



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                                              Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                            Auth.     Admiss.

430    Produced Documents –                   X                   MIL
       Kodack_3114736_Dudick.wav
       CPI00000054
431    Produced Documents –                   X                   MIL
       McCormick_9244675_Porter.wav
       CPI00000055
432    Produced Documents –                   X                   MIL
       Midulla_9324805_Baker.wav
       CPI00000056
433    Produced Documents –                   X                   MIL
       Morrisey_9162767_Marley.wav
       CPI00000057
434    Produced Documents –                   X                   MIL
       Nelson_9292942_Munn.wav
       CPI00000058
435    Produced Documents –                   X                   MIL
       Quinn_9104226_Funderburk.wav
       CPI00000059
436    Produced Documents –                   X                   MIL
       Quinn_9104226_Padgett.wav
       CPI00000060
437    Produced Documents –                   X                   MIL
       Smith_300084_Ferrante.wav
       CPI00000061
438    Produced Documents –                   X                   MIL
       Smith_7300084_Ferrante.wav
       CPI00000062
439    Produced Documents –                   X                   MIL
       Walker_9308845_Dunlap.wav
       CPI00000063
440    VIVINT0001352 – Spreadsheet of         X                   MIL
       Complaints to Vivint by CPI
       Customers
441    "Settlement Agreement" In the          X                   MIL
       Matter of Vivint, Inc. and Smart
       Home Pros, Inc. F/K/A Arm
       Security, Inc.,
       https://drive.google.com/file/d/0B5X
       6AborgIR-
       emtmWDhBR2otM1U/view?resour
       cekey=0-nHWN6E-
       FckI5Evqs8nUlNw
442    All Documents Referenced or Cited      X                   MIL
       in Body of Expert Report –
       "Assurance of Voluntary
       Compliance For Vivint, Inc. f/k/a
       Alarm Security Solutions, Inc.",
       http://www.myfloridalegal.comIEC
       Edoc.nsf/0/67913D97E96C1813385
       257EB8005B0 IDA/
       $fileNivint+AVC.pdf



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443    Documents Referenced or Cited in     X                   MIL
       Body of Expert Report –
       VIVINT0001352.csv – Spreadsheet
       of Customer Complaints to Vivint
       by Former CPI Customers
444    Documents Referenced or Cited in     X                   MIL
       Body of Expert Report – Customer
       Index re Vivint Production 2021-
       04-22 (updated 2021-05-25)
       provided by Vivint Outside Counsel
       Corresponding to
       VIVINT0001352.csv
445    Documents Referenced or Cited in     X                   MIL
       Body of Expert Report –
       "Consumer Protection Section,"
       Ohio Attorney General's Office,
       https://www.ohioattorneygeneral.g
       ov/Files/Reports/Consumer-
       Annual-Reports/2013-Consumer-
       Annual-Report-(PDF);
446    IBISWorld US Industry (NAICS)        X                   MIL
       Report 56162: Security Alarm
       Services in the US, December 2020
447    Vivint Smart Home, Inc. 10-K 2020    X                   MIL
448    Website – "2021 SDM Rankings",       X                   MIL
       SDM Magazine, https ://www.
       sdmmag. com/2021-SDM- 100-
       Rankings#top
449    Website – "About Us", Vivint         X                   MIL
       Smart Home Inc.
       https://www.vivint.com/company/ab
       out-us
450    Website – AG Files Enforcement       X                   MIL
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       Companies," Ohio Attorney
       General, https
       ://www.ohioattorneygeneral.gov/Me
       dia/Newsletters/Consumer-
       Advocate/September-2013/AG-
       Files-Enforcement-Actions-
       Against-Home-Security
451    Website – "AG Paxton Reaches         X                   MIL
       Settlement with Vivint and Warns
       Texans of Unscrupulous Door-to-
       Door Alarm Systems Sales
       Tactics," Ken Paxton Attorney
       General of Texas,
       https://www.texasattomeygeneral.g
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       warns-texans-unscrupulous-door-
       door-alarm-systems-sales
452    Website – "Alarm Company that         X                   MIL
       Misled Springfield Woman Will
       Pay Settlement", Springfield News-
       Leader,
       https://www.news-
       leader.com/story/news/politics/2015
       /09/02/alai      in-company-misled-
       springfield-woman-will-pay-
       settlement/71599398/
453    Website – "An update from CPI on      X                   MIL
       our COVID-19 response", CPI
       Security Systems Inc.,
       https://cpisecurity.com/covid-19/.
454    Website – "Complaints continue to     X                   MIL
       mount against home security
       company," Fox 2 Now,
       https://fox2now.com/news/contact-
       2/complaints-continue-to-mount-
       against-home-security-company/
455    Website – "CPI Security Systems",     X                   MIL
       Better Business Bureau,
       https://www.bbb.org/us/nc/charlotte
       /profile/burglar-alarm-systems/cpi-
       security-systems-0473-100595
456    Website – "CPI Security Systems       X                   MIL
       Inc." Bloomberg,
       https://www.bloomberg.com/profile/
       company/0196183D:US
457    Website – "Company Profile",          X                   MIL
       Vivint Smart Home Inc.,
       https://investors.vivint.com/compan
       y-profile/default.aspx
458    Website – "Complaints, Vivint         X                   MIL
       Canada Inc.", Better Business
       Bureau,
       https://www.bbb.org/ca/ab/lethbrid
       ge/profile/burglar-alarm-
       systems/vivint-canada-inc-0017-
       72772/complaints
459    Website – "Frequently Asked           X                   MIL
       Questions about the Better
       Business Bureau (BBB)", Better
       Business Bureau,
       https://www.bbb.org/frequently-
       asked-questions
460    Website – "Home Security              X                   MIL
       Company Fined For Consumer
       Protection Allegations," Kansas
       Attorney General,



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       https://www.ag.ks.gov/media-
       center/news-releases/2013-news-
       releases/2013/03/15/home-security-
       company-fined-for-consumer-
       protection-allegations.
461    Website – "Palm Coast Citizen          X                   MIL
       Alert: Complaints filed against
       home security company," City of
       Palm Coast,
       https://www.palmcoastgov.corn/ne
       wsroom/2013/8/6/1720/palm-coast-
       citizen-alert-complaints-filed-
       against-home-security-company.
462    Website – "Pennsylvania Settles        X                   MIL
       With Vivint After Company
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       1075700-pennsylvania-settles-
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463    Website – "Security firms settle       X                   MIL
       with state," Milwaukee Journal
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       /security-filins-settle-with-state-
       kf719e2-171633631.html.
464    Website – "The Cost of Hiring a        X                   MIL
       New Employee", Investopedia
       (Annie Mueller),
       https://www.investopedia.com/fina
       ncial-edge/0711/the-cost-of-hiring-
       a-new-employee.aspx
465    Website – "Toyota Recalls All 8,000    X                   MIL
       Cars of Lexus Model," LA Times,
       https://www.latimes.com/archives/l
       a-xpm-1989-12-05-E-123-
       story.html
466    Website – "Vivint Smart Home           X                   MIL
       Overview", Pitchbook,
       https://pitchbook.com/profiles/comp
       any/11895-40#overview
467    Website – "Vivint Smarthome            X                   MIL
       Security Company," Better
       Business Bureau,
       https://www.bbb.org/ca/on/toronto/p
       rofile/security-systems/vivint-
       smarthome-security-company-
       0107-1371325




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No.    Description                         Auth.     Admiss.

468    Website – "Vivint Smart Home to       X           MIL
       Pay $20 Million for Violating the
       Fair Credit Reporting Act," The
       United States Department of
       Justice,
       https://www.justice.gov/opa/pr/vivi
       nt-smart-home-pay-20-million-
       violating-fair-credit-reporting-act
469    Website – "Vivint", Trustpilot,       X           MIL
       https://www.trustpilot.com/review/
       vivint.com?search=cpi&utm_mediu
       m=trustbox&utm_source=Slider
470    Website – "Vivint", Trustpilot,       X           MIL
       https://www.trustpilot.com/review/
       vivint.com?stars=l&stars=2&searc
       h=switch&utm_medium=trustbox
       &utm_source=Slider
471    Website – "Vivint Outside Sales       X           MIL
       Representative yearly salaries in
       the United States", Indeed,
       https://www.indeed.com/cmpNivint
       -2/salaries/Outside-Sales-
       Representative
472    Website – "Why Palm Coast Is          X           MIL
       Alarmed: Vivint Home-Security
       Solicitors Dogged By History of
       Deception," FlagerLive.corn,
       https://flaglerlive.com/57514/vivint-
       security-solicitors/.
473    Website – "What is brand equity?", X              MIL
       Prophet (David Aaker),
       https://www.prophet.com/2013/09/1
       56-what-is-brand-equity-and-why-
       is-it-valuable/
Vivint Employees’ and Former Employees’ Depositions and Exhibits taken in ADT LLC et al v. Vivint
Smart Home, Inc. et al., Case No. 1:20-cv-23391-MGC (SD Fla)
474    Deposition of Nathan Wilcox, taken X              MIL
       6/24/21 (in ADT LLC v. Vivint, et
       al., Case No. 1:20-cv-23391-MGC) –
       no exhibits
475    Deposition of Hari Rasolo, taken      X           MIL
       10/13/21
476    Rasolo Depo Ex. 1 –                   X           MIL
       AminiRegionCount -
       Rasolo email to Scott Brown dated
       2/9/2016 re: Amini Vivint11539-
       11541
477    Rasolo Depo Ex. 2                     X           MIL
       OgletreeRasolo – Rasolo email to
       Jordan Binning/Scott Brown re: A-




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                                           Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                         Auth.     Admiss.

       7482342 Forgery dated 05/22/2015
       Vivint111722-723
478    Rasolo Depo Ex. 3                   X                   MIL
       OgletreeUnderControl – Veibell
       email to Jordan Binning/Hari
       Rasolo dated 6/12/2015 re: Update
       Case Vivint111303-304
479    Rasolo Depo Ex. 4                   X                   MIL
       TopOffenderList – Santiago email
       to SaleVPs dated 06/01/2015 fwd:
       Customer Loyalty Double Account
       Report May 25-31, 2015
       Vivint111311-317
480    Rasolo Depo Ex. 5 -                 X                   MIL
       ZelayaDSPs – Zelaya email to
       Bowdy Gardner dated 03/18/2015
       re: Latarsha Green Vivint115447-
       450
481    Rasolo Depo Ex. 6 -                 X                   MIL
       MeekerComplaints – Rasolo email
       to Scott Brown/Jason Brown/Cody
       Veibell dated 08/08/2016 re: Paul
       Meeker Report Vivint111470-475
482    Rasolo Depo Ex. 7 -                 X                   MIL
       RyneSimmonsDSPs – Young email
       to
       Simmons/Heriford/Veibell/Comer
       dated 08.03.2015 re: Forgery case
       S-4360102 Ryan Laughlin
       Vivint118703-755
483    Rasolo Depo Ex. 8 –                 X                   MIL
       Vivint00009097_native
       Rasolo email to
       Crittenden/Competitive Response
       (Slams)/Buyouts dated 12.14.2019
       re: Buy out Account number:
       13224878
484    Rasolo Depo Ex. 9 –                 X                   MIL
       Vivint00008195_native
       Fausett email to Roberts dated
       07/08/2019 re: s-6996748 text
       messages
485    Rasolo Depo Ex. 10-                 X                   MIL
       Vivint003225_native
       Butron email to Walker (Rasolo
       2019 Season update) dated
       05/20/2021
486    Rasolo Depo Ex. 11 –                X                   MIL
       Vivint015208_native




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                                                Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                              Auth.     Admiss.

       Rasolo email to Boone/Diamond
       dated 03.20.2020 re: Update to
       Elite CRM
487    Rasolo Depo Ex. 12 –                     X                   MIL
       Vivint008215_native
       Boone email to Rasolo/Darrow
       dated 11/07/2019 re: Customer
       buyout
488    Rasolo Depo Ex. 13 –                     X                   MIL
       Vivint009022_native
       Levin email to Stinson dated
       07/19/2019 re: Tanya Wilkins S-
       6462502
489    Rasolo Depo Ex. 14 –                     X                   MIL
       Vivint00010333_native
       Roberts email to Rasolo dated
       07/08/2019 re: s-6996748 text
       messages
490    Rasolo Depo Ex. 15 –                     X                   MIL
       ZelayaReaderDSPs - Rasolo email
       to Baugh/Gardner dated
       11/12/2014 re: S-3597466
       Vivint115466-505
491    Rasolo Depo Ex. 16 – Wilcox depo         X                   MIL
       12/04/2017 exhibit 9 – 2014-2015
       complaints chart
492    Rasolo Depo Ex. 17 – Wilcox depo         X                   MIL
       12/04/2017 exhibit 10 – region
       complaints chart
493    Rasolo Depo Ex. 18 – Wilcox depo         X                   MIL
       12/04/2017 exhibit 11 – complaints
       chart
494    Rasolo Depo Ex. 19 – Wilcox depo         X                   MIL
       12/04/2017 exhibit 13 – complaint
       log
495    Rasolo Depo Ex. 20 – Wilcox depo         X                   MIL
       12/04/2017 exhibit 14
496    Rasolo Depo Ex. 21 – Wilcox depo         X                   MIL
       12/04/2017 exhibit 17
Vivint Discovery Responses in ADT LLC et        al v. Vivint Smart Home, Inc. et al., Case No. 1:20-cv-
23391-MGC (SD Fla)
497    Defendants Vivint Smart Home,            X                   MIL
       Inc. and Legacy Vivint Smart
       Home, Inc.’s Initial Disclosures,
       dated 12/8/20
498    Defendants Vivint Smart Home,            X                   MIL
       Inc. and Legacy Vivint Smart
       Home, Inc.’s Responses and
       Objections to Plaintiff’s First Set of
       Interrogatories, dated 2/3/21




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                                   Stip of   Stip of   Objections   Identified By   Admitted
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499   Defendants Vivint Smart Home,          X         MIL
      Inc. and Legacy Vivint Smart
      Home, Inc.’s Responses and
      Objections to Plaintiff’s First set of
      Requests for Production, dated
      2/3/21
500   Defendants Vivint Smart Home,          X         MIL
      Inc. and Legacy Vivint Smart
      Home, Inc.’s Supplemental
      Responses and Objections to
      Plaintiff’s First Set of Requests for
      Production, dated 3/5/21
501   Defendants Vivint Smart Home,          X         MIL
      Inc. and Legacy Vivint Smart
      Home, Inc.’s Second Supplemental
      Responses to Plaintiff’s First Set of
      Requests for Production, dated
      3/17/21
502   Defendants Vivint Smart Home,          X         MIL
      Inc. and Legacy Vivint Smart
      Home, Inc.’s Supplemental
      Responses to Plaintiff’s First Set of
      Interrogatories, dated 5/17/21
503   Defendants Vivint Smart Home,          X         MIL
      Inc. and Legacy Vivint Smart
      Home, Inc.’s Third Supplemental
      Responses and Objections to
      Plaintiff’s First Set of Requests for
      Production, dated 6/1/21
504   Defendants Vivint Smart Home,          X         MIL
      Inc. and Legacy Vivint Smart
      Home, Inc.’s Privilege Log re 3rd
      Supplemental Response to
      Plaintiff’s First Set of Requests for
      Production, dated 6/15/21
505   Defendants Vivint Smart Home,          X         MIL
      Inc. and Legacy Vivint Smart
      Home, Inc.’s Fourth Supplemental
      Responses and Objections to
      Plaintiff’s First Set of Requests for
      Production, dated 7/28/21
Trial Exhibits from ADT LLC and ADT US Holding,        Inc. v. Vivint, Inc., USDC Southern
District of Florida, Case No. 9:17-cv-80432-DMM
Summary Exhibits
506   ADT Customer Declarations [Trial       X         MIL
      Exhibit 3 in Case No. 9:17-cv-
      80432-DMM]
507   Summary Exhibit of All Customers X               MIL
      who Reported Complaints to ADT
      [Trial Exhibit 12 in Case No. 9:17-
      cv-80432-DMM]



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                                         Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                       Auth.     Admiss.

508   Summary Exhibit of Vivint “Slam”    X               MIL
      Calls produced by Vivint for Select
      ADT customers [Trial Exhibit 14 in
      Case No. 9:17-cv-80432-DMM]
Customer Depositions and Exhibits in Case No. 9:17-cv-80432-DMM
509   Deposition of Le Arnold, taken      X               MIL
      8/4/17
510   Arnold Depo Ex. 1 – Alarm           X               MIL
      Services Contract, dated 9/10/13
      (ADT_VIVINT_00006558)
511   Arnold Depo Ex. 2 – Audio Intake    X               MIL
      Call (ADT_VIVINT_7759)
512   Arnold Depo Ex. 3 – Deceptive       X               MIL
      Sales Report, dated 4/29/16
      (ADT_VIVINT_00003017)
513   Deposition of Elnora Bronson,       X               MIL
      taken 8/1/17
514   E. Bronson Depo ADT Ex. 1 – ADT X                   MIL
      Alarm Services Contract, dated
      4/15/14 (ADT_VIVINT_00006722)
515   E. Bronson Depo ADT Ex. 2 –         X               MIL
      Audio Recording
      (ADT_VIVINT_7761)
516   Deposition of Jerry Bronson, taken X                MIL
      8/1/17
517   Deposition of James Harris, taken   X               MIL
      8/8/17
518   J. Harris Depo ADT Ex. 1 –          X               MIL
      Residential Services Contract,
      dated 6/22/10
      (ADT_VIVINT_00006980)
519   J. Harris Depo ADT Ex. 2 – Audio    X               MIL
      Intake Call (ADT_VIVINT_7787)
520   Deposition of Karen Harris, taken   X               MIL
      8/8/17
521   K. Harris Depo ADT Ex. 1 – Audio    X               MIL
      Recording (Vivint-821.MP3)
522   Deposition of Sarah Devoli, taken   X               MIL
      8/1/17
523   Deposition of Trish Henry, taken    X               MIL
      8/8/17
524   Henry Depo Ex. 1 – Alarm Services X                 MIL
      Contract, dated 9/22/15
      (ADT_VIVINT_00006990)
525   Deposition of Ivan Liechty, taken   X               MIL
      7/21/17
526   Liechty Depo Ex. 1 – Audio          X               MIL
      Complaint Intake Call (ADT
      _VIVINT_00006555)




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                                             Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                           Auth.     Admiss.

527    Liechty Depo Ex. 2 – Email from       X                   MIL
       Liechty re: Vivint Scam, dated
       6/26/17 (ADT_VIVINT_00006496-
       6511)
528    Deposition of Sammy Pugh, dated       X                   MIL
       8/3/17
529    Pugh Depo Ex. 1 – Alarm Services      X                   MIL
       Contract, dated 1/19/06
       (ADT_VIVINT_00007982)
530    Deposition of Karen Scoville, dated   X                   MIL
       8/3/17
531    Scoville Depo Ex. 1 – Alarm           X                   MIL
       Service Contract, dated 9/11/12
       (ADT_VIVINT_00007407)
532    Scoville Depo Ex. 2 – Copy of         X                   MIL
       Check & Brochure re: How to
       Verify Vivint (No bates number)
533    Scoville Depo Ex. 3 – Audio           X                   MIL
       Recording (ADT_VIVINT_7771)
534    Scoville Depo Ex. 4 – Audio           X                   MIL
       Recording (ADT_VIVINT_773)
535    Scoville Depo Ex. 5 – Audio           X                   MIL
       Recording (Karen
       Scoville_5357671customercare 12-
       8-2016)
536    Scoville Depo Ex. 6 – Audio           X                   MIL
       Recording (Karen Scoville_5357671
       customercare to customer loyalty
       (slams) 12-8-2016)
537    Deposition of James Teems, taken      X                   MIL
       8/4/17
538    Teems Depo Ex. 1 – Alarm Services     X                   MIL
       Contract, dated 1/13/16
       (ADT_VIVINT_00007478)
539    Teems Depo Ex. 2 – Handwritten        X                   MIL
       Notes
540    Teems Depo Ex. 3 – Vivint Audio       X                   MIL
       Recording (5134674 Customer
       Loyalty (Slams), dated 7/19/16)
541    Teems Depo Ex. 4 – Vivint Audio       X                   MIL
       Recording (5134674 Customer
       Loyalty (Slams), dated 7/19/16)
542    Teems Depo Ex. 5 – ADT Audio          X                   MIL
       Intake Recording
       (ADT_VIVINT_7777)
543    Deposition of Lillian Toppins,        X                   MIL
       taken 8/7/2017
544    Deposition of Willie Borne, taken     X                   MIL
       7/27/17




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                                             Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                           Auth.     Admiss.

545    Borne Depo Ex. 1 – Alarm Services     X                   MIL
       Contract, dated 8/19/14 (No bates
       number)
546    Deposition of Tena Jolley, taken      X                   MIL
       8/24/17
547    T. Jolley Depo Ex. 1 – Audio Intake   X                   MIL
       Call (Vivint977.MP3)
548    Deposition of James Jolley, taken     X                   MIL
       8/24/17
549    J. Jolley Depo Ex. 1 – Email from     X                   MIL
       J. Jolley Cancelling Agreement,
       dated 7/12/16 (No bates number)
550    J. Jolley Depo Ex. 2 – Email          X                   MIL
       Response to J. Jolley Email, dated
       8/4/16 (No bates number)
551    J. Jolley Depo Ex. 3 – Bank           X                   MIL
       Statement from 7/21/16 to 8/3/16
       (No bates number)
552    Deposition of Diana Reeder, taken     X                   MIL
       8/7/17
553    Reeder Depo Ex. 1 – Alarm             X                   MIL
       Services Contract, dated 6/9/14
       (ADT_VIVINT_00006482)
554    Reeder Depo Ex. 2 – Audio Intake      X                   MIL
       Call (ADT_Vivint_11115)
555    Reeder Depo Ex. 3 – Complaint to      X                   MIL
       BBB, dated 12/28/16
       (ADT_VIVINT_00006478-6480)
556    Deposition of Dorothy Weston,         X                   MIL
       taken 8/10/17
557    Weston Depo Ex. 1 – Residential       X                   MIL
       Services Contract (Activation),
       dated 8/29/11
       (ADT_VIVINT_00007536)
558    Weston Depo Ex. 2 – Photograph        X                   MIL
559    Weston Depo Ex. 3 – Audio File (no    X                   MIL
       bates number)
560    Weston Depo Ex. 4 – Audio File (no    X                   MIL
       bates number)
561    Weston Depo Ex. 5 – Audio File (no    X                   MIL
       bates number)
562    Weston Depo Ex. 6 – Audio File (no    X                   MIL
       bates number – Dorothy
       Weston_5090785 Customer Care to
       Customer Loyalty 6-30-2016.mp3)
563    Deposition of Bethaney Wilkins,       X                   MIL
       taken 8/9/17
564    Wilkins Depo Ex. 1 – Alarm            X                   MIL
       Services Contract, dated 6/2/14
       (ADT_VIVINT_00007543)



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                                            Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                          Auth.     Admiss.

565    Wilkins Depo Ex. 2 – Audio           X                   MIL
       Recording (ADT_VIVINT_7780)
566    Wilkins Depo Ex. 3 – Audio           X                   MIL
       Recording (WillieWilkins_5144655
       customer care 9-6-2016.mp3)
567    Wilkins Depo Ex. 4 – Invoice         X                   MIL
       Summary Report from 1/1/13 to
       7/1/17 (ADT_VIVINT_00005339)
568    Wilkins Depo Ex. 12 – Vivint Audio   X                   MIL
       Recording (no bates label – Willie
       Wilkins_5144655 Pre-
       Install_1_6309918651530149970_1
       _46.wav)
569    Deposition of Kenny Tipler, taken    X                   MIL
       9/18/17
570    Tipler Depo Ex. 1 – ADT              X                   MIL
       Residential Services Contract,
       dated 8/20/15
       (ADT_VIVINT_00007487-7488)
571    Deposition of Brian Delaney, taken   X                   MIL
       9/18/17
572    Delaney Depo Ex. 1 – Brinks Home     X                   MIL
       Security Protective Service
       Agreement, dated 3/18/09 (No
       bates number)
573    Delaney Depo Ex. 2 – Handwritten     X                   MIL
       Notes (No bates number)
574    Delaney Depo Ex. 3 – Vivint          X                   MIL
       Schedule of Equipment and
       Services, dated 7/16/14 (No bates
       number)
575    Delaney Depo Ex. 4 – Vivint          X                   MIL
       System Purchase and Services
       Agreement, dated 7/16/14 (No
       bates number)
576    Delaney Depo Ex. 5 – Email from      X                   MIL
       Brian Delaney to Vivint re:
       Deceptive Sales Practice
       Complaint, dated 8/12/14 (No bates
       number)
577    Delaney Depo Ex. 6 – Complaints      X                   MIL
       to FTC, Texas AG and BBB
578    Delaney Depo Ex. 7 – Declaration     X                   MIL
       of Mr. Brian Delaney
579    Deposition of Rick Donaldson,        X                   MIL
       taken 9/18/17
580    Donaldson Depo Ex. 1 – ADT           X                   MIL
       Alarm Services Contract, dated
       3/12/14 (ADT-VIVINT-00006846)
581    Deposition of Lucille Billingsley-   X                   MIL
       Brown, taken 8/28/17


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                                          Stip of   Stip of   Objections   Identified By   Admitted
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582    Billingsley-Brown Depo Ex. 1 –        X              MIL
       ADT Alarm Services Contract,
       dated 7/21/12
       (ADT_VIVINT_00010937-10946)
583    Billingsley-Brown Depo Ex. 2 –        X              MIL
       ADT Audio Complaint Intake Call
       (ADT_VIVINT_10932)
584    Billingsley-Brown Depo Ex. 3 –        X              MIL
       Vivint Complaint Call
       (ADT_VIVINT_10933)
Vivint 30(b)(6) Depositions and Exhibits in Case No. 9:17-cv-80432-DMM
585    Deposition of Mark Davies, taken      X              MIL
       9/15/17
586    Davies Depo Ex. 1 – United States     X              MIL
       Securities and Exchange
       Commission, Form 10-K: Annual
       Report Pursuant to Section 13 of
       15(d) of the Securities Exchange
       Act of 1934, for the fiscal year
       ending December 31, 2106 (No
       bates number)
587    Davies Depo Ex. 2 – New York          X              MIL
       Business Journal Article re:
       Blackstone Selling Vivint, dated
       9/12/17 (No bates number)
588    Davies Depo Ex. 3 – United States     X              MIL
       Securities and Exchange
       Commission, Form 10-Q: Quarterly
       Report Pursuant to Section 13 of
       15(d) of the Securities Exchange
       Act of 1934, for the quarterly
       period ended June 30, 2017 (No
       bates number)
589    Deposition of Sean Ricks, taken       X              MIL
       9/14/17
590    Ricks Depo Ex. 1 – ADT Amended        X              MIL
       Notice of 30(b)(6) Deposition of
       Corporate Representative(s) of
       Vivint, dated 9/8/17 (No bates
       number)
591    Ricks Depo Ex. 2 – ESA Code of        X              MIL
       Conduct
592    Ricks Depo Ex. 3 – Video – (no        X              MIL
       bates number -
       7.2_Misrepresentations.mp4)
593    Ricks Depo Ex. 4 – Legal Training     X              MIL
       Video by Mr. Ricks (no bates
       number - Legal_03282013.mp4)
594    Ricks Depo Ex. 5 – Sales              X              MIL
       Representative Complaints and
       Fines (Vivint-006917-6948)



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                                             Stip of   Stip of   Objections   Identified By   Admitted
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595    Ricks Depo Ex. 6 – Sales              X                   MIL
       Representatives (Vivint-006949-
       6968)
596    Ricks Depo Ex. 7 – George Powers      X                   MIL
       Preinstall (Vivint-000885)
597    Ricks Depo Ex. 8 – Jenny Daniels      X                   MIL
       Preinstall (Vivint-000217)
598    Ricks Depo Ex. 9 – Audio (no bates    X                   MIL
       number – Reeder 63.mp4)
599    Ricks Depo Ex. 10 – Reeder 67 (no     X                   MIL
       bates number – Reeder 67.mp4)
600    Ricks Depo Ex. 11 – Lillian           X                   MIL
       Toppins Preinstall (Vivint-004856 -
       4874)
601    Ricks Depo Ex. 12 – Lillian           X                   MIL
       Toppins Preinstall Survey (no
       bates number – Lillian
       Toppins_Pre-Install
       Survey_1_6316539687214329459_1
       _46.wav)
602    Ricks Depo Ex. 13 – The Recruit       X                   MIL
       (no bates number)
603    Vivint 30(b)(6) Deposition of         X                   MIL
       Nathan Wilcox, taken 9/14/17
604    Wilcox Depo Ex. 14 – Vivint           X                   MIL
       Customer Spreadsheet, VIVINT-
       031882-0319? (later produced in
       native excel format as VIVINT-
       031882)
605    Wilcox Depo Ex. 15 – Assurance of     X                   MIL
       Voluntary Compliance
       (Pennsylvania v Vivint), dated
       1/29/15 (No bates number)
606    Wilcox Depo Ex. 16 – Assurance of     X                   MIL
       Voluntary Compliance (Florida v
       Vivint), dated 9/2/2015 (No bates
       number)
607    Wilcox Depo Ex. 17 – Assurance of     X                   MIL
       Voluntary Compliance (Missouri v
       Vivint), dated 8/26/15 (No bates
       number)
608    Wilcox Depo Ex. 18 – Settlement       X                   MIL
       Agreement between Vivint and
       Smart Home Pros, Inc., dated
       5/24/17 (No bates number)
609    Wilcox Depo Ex. 19 – Order            X                   MIL
       Approving Assurance of Voluntary
       Compliance (Nebraska v Vivint),
       dated 5/30/13 (No bates number)
610    Wilcox Depo Ex. 20 – Petition for     X                   MIL
       Approval of Assurance of


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                                              Stip of   Stip of   Objections   Identified By   Admitted
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       Voluntary Compliance (Indiana v
       Vivint), dated 7/6/15 (No bates
       number)
611    Wilcox Depo Ex. 21 – Journal           X                   MIL
       Entry of Consent Judgment
       (Kansas v Vivint), dated 3/11/13
       (No bates number)
612    Wilcox Depo Ex. 22 – Assurance of      X                   MIL
       Voluntary Compliance (Georgia v
       Vivint), dated 1/29/15 (No bates
       number)
613    Wilcox Depo Ex. 23 – Assurance of      X                   MIL
       Voluntary Compliance (Ohio v
       Vivint), dated 4/26/13 (No bates
       MIL number)
614    Wilcox Depo Ex. 24 – Stipulation       X                   MIL
       for Consent Judgment (Wisconsin v
       Vivint), dated 9/7/12 (No bates
       number)
615    Wilcox Depo Ex. 25 – Consent           X                   MIL
       Order (Minnesota v Vivint), dated
       6/14/11 (No bates number)
616    Wilcox Depo Ex. 26 – Vivint            X                   MIL
       Memorandum in Support of Motion
       for Preliminary Injunction (Vivint
       v Elite Security), dated 7/13/12 (No
       bates number)
617    Wilcox Depo Ex. 27 – Vivint BBB        X                   MIL
       Update, December 2014 (No bates
       number)
618    Deposition of Nathan Wilcox as         X                   MIL
       30(b)(6) Designee of Vivint, taken
       12/04/2017
619    Ex. 1 to 12/04/2017 Wilcox 30(b)(6)    X                   MIL
       Deposition – Vivint Smart Home
       Sales Training Manual, VIVINT-
       111557 to 592
620    Ex. 2 to 12/04/2017 Wilcox 30(b)(6)    X                   MIL
       Deposition – E-mail, 3-31-17, from
       Jared Young to Jonathan Gubler,
       VIVINT-118707
621    Ex. 3 to 12/04/2017 Wilcox 30(b)(6)    X                   MIL
       Deposition – E-mail chain ending
       with 3-10-17 from Jessica
       Frandsen to Scott Brown VIVINT-
       111556
622    Ex. 4 to 12/04/2017 Wilcox 30(b)(6)    X                   MIL
       Deposition – Vivint BBB Case
       Breakdown VIVINT-112365 to
       112398




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                                              Stip of   Stip of   Objections   Identified By   Admitted
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623    Ex. 5 to 12/04/2017 Wilcox 30(b)(6)    X                   MIL
       Deposition – Vivint BBB
       Complaint Analysis VIVINT-
       113114 to 113175
624    Ex. 6 to 12/04/2017 Wilcox 30(b)(6)    X                   MIL
       Deposition – Email, 11-13-13, from
       Scott Hardy to Alex Dunn,
       VIVINT-113990 to 113995
625    Ex. 7 to 12/04/2017 Wilcox 30(b)(6)    X                   MIL
       Deposition – Spreadsheet of
       complaints, 48 pages
626    Ex. 8 to 12/04/2017 Wilcox 30(b)(6)    X                   MIL
       Deposition – Email string ending
       with 6-13-14 from David Bywater
       to Alex Dunn Vivint-112363
627    Ex. 9 to 12/04/2017 Wilcox 30(b)(6)    X                   MIL
       Deposition – Spreadsheet of 2014
       Data and 2015 Data
628    Ex. 10 to 12/04/2017 Wilcox            X                   MIL
       30(b)(6) Deposition – Spreadsheet,
       Senior Region, Installs, complaints,
       etc.
629    Ex. 11 to 12/04/2017 Wilcox            X                   MIL
       30(b)(6) Deposition – Spreadsheet,
       row Labels, Accounts, #
       Complaints, Points, etc.
630    Ex. 12 to 12/04/2017 Wilcox            X                   MIL
       30(b)(6) Deposition – Spreadsheet,
       account ID, install date, Senior
       Region, etc.
631    Ex. 13 to 12/04/2017 Wilcox            X                   MIL
       30(b)(6) Deposition – Spreadsheet,
       Rep Name, Fine Amount,
       Approved, Date, Description
632    Ex. 14 to 12/04/2017 Wilcox            X                   MIL
       30(b)(6) Deposition – Spreadsheet,
       Badge, worker, company, cost
       Center, etc.
633    Ex. 15 to 12/04/2017 Wilcox            X                   MIL
       30(b)(6) Deposition – E-mail, 7-18-
       14, from Hari Rasolo to Austin
       Somers, VIVINT-110459 to 461
634    Ex. 16 to 12/04/2017 Wilcox            X                   MIL
       30(b)(6) Deposition – E-mail chain
       ending in 3-19-14 from Hari Rasolo
       to Austin Comers, VIVINT-110509
635    Ex. 17 to 12/04/2017 Wilcox            X                   MIL
       30(b)(6) Deposition – Spreadsheet,
       Date Created, Employee, Badge ID,
       Complaint, AR #, Code, etc.




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                                        Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                      Auth.     Admiss.

636    Ex. 18 to 12/04/2017 Wilcox            X         MIL
       30(b)(6) Deposition – Email, 10-23-
       14, from Casey Baugh to Hari
       Rasolo, VVINT-110361 to 363
637    Ex. 19 to 12/04/2017 Wilcox            X         MIL
       30(b)(6) Deposition – E-mail, 12-19-
       14, from Casey Baugh to Kameron
       Muhlstein, VIVINT-110357 to 358
Vivint Training Videos and Transcripts
638    Sales Training Video disclosed by X              MIL
       Vivint (VIVINT_104740)
639    Transcript of VIVINT_104740            X         MIL
Vivint Discovery Responses in Case No. 9:17-cv-80432-DMM
640    Vivint, Inc.’s Amended Response        X         MIL
       and Objections to Plaintiffs’ First
       Set of Interrogatories, dated
       6/19/2017
641    Vivint, Inc.’s Amended Responses       X         MIL
       and Objections to Plaintiffs’ First
       Set of Requests for Production,
       dated 6/19/2017
642    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ First Set of
       Requests for Admissions, dated
       6/19/2017
643    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Second Set
       of Interrogatories, dated 6/19/2017
644    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Second Set
       of Requests for Production, dated
       6/19/2017
645    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Second Set
       of Request for Admissions, dated
       9/26/2017
646    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Third Set
       of Requests for Production, dated
       6/29/2017
647    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Third Set
       of Interrogatories, dated 9/26/2017
648    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Fourth Set
       of Requests for Production, dated
       7/3/2017
649    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Fifth Set of
       Requests for Production, dated
       7/17/2017


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                                        Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                      Auth.     Admiss.

650    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Sixth Set of
       Requests for Production, dated
       9/6/2017
651    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Seventh
       Set of Request for Production,
       dated 9/12/2017
652    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Eighth Set
       of Requests for Production, dated
       9/12/2017
653    Vivint, Inc.’s Response and            X         MIL
       Objections to Plaintiffs’ Ninth Set
       of Request for Production, dated
       9/26/2017
654    Vivint, Inc.’s Amended Response to X             MIL
       Plaintiffs’ Interrogatory Number
       10, dated 10/18/2017
Vivint Discovery Responses from Other DSP Cases
655    Vivint v. NorthStar – Vivint           X         MIL
       Responses to NorthStar
       Interrogatories (VIVINT-090402-
       090432)
Vivint Motions for Default Judgment Against DSP Defendants
656    VIVINT – 073175 – Vivint v.            X         MIL
       Santos; Fourth Judicial District
       Court, District Court Utah County,
       State of Utah, Civil No. 130401103;
       Memorandum in Support of Motion
       for Default Judgment
657    VIVINT – 073376 – Vivint v.            X         MIL
       Schultz; Fourth Judicial District
       Court, Utah County, State of Utah
       – Provo Dept., Civil No.
       130401263; Memorandum in
       Support of Motion for Default
       Judgment
658    VIVINT – 073601 – Vivint v.            X         MIL
       Sholly; Fourth Judicial District
       Court of Utah County, State of
       Utah, Provo Department, Civil No.
       130401264; Memorandum in
       Support of Motion for Default
       Judgment
659    VIVINT – 074142 – Vivint v. Smith X              MIL
       – Fourth Judicial District Court,
       Utah County, State of Utah, Civil
       No. 130401308; Memorandum in
       Support of Motion for Default
       Judgment



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                                             Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                           Auth.     Admiss.

660    VIVINT – 074408 – Vivint v.           X                   MIL
       Strong – Fourth Judicial District
       Court, Utah County, State of Utah
       – Provo Dept., Civil No.
       130401274; Memorandum in
       Support of Motion for Default
       Judgment
661    VIVINT – 075806 – Vivint v.           X                   MIL
       Winmill – Fourth Judicial District
       Court, Utah County, State of Utah,
       Civil No. 130401416; Memorandum
       in Support of Motion for Default
       Judgment
662    VIVINT – 075937 – Vivint v. Zubia     X                   MIL
       – Fourth Judicial District Court of
       Utah County, State of Utah, Provo
       Department; Memorandum in
       Support of Motion for Default
       Judgment
663    VIVINT – 076172 – Vivint v. Ayala     X                   MIL
       - Fourth Judicial District Court of
       Utah County, State of Utah,
       American Fork Department, Civil
       No. 150100103; Memorandum in
       Support of Motion for Default
       Judgment
664    VIVINT – 082517 – Vivint v. Florez    X                   MIL
       - Fourth Judicial District Court,
       Utah County, State of Utah, Civil
       No. 130401267; Memorandum in
       Support of Motion for Default
       Judgment
665    VIVINT – 082779 – Vivint v. Gore      X                   MIL
       – Fourth Judicial District Court,
       Utah County, State of Utah, Civil
       No. 140401445; Memorandum in
       Support of Motion for Default
       Judgment
666    VIVINT – 083772 – Vivint v.           X                   MIL
       Hodgkiss – Fourth Judicial District
       Court, Utah County, State of Utah
       – Spanish Fork Dept., Civil No.
       130300145; Memorandum in
       Support of Motion for Default
       Judgment
667    VIVINT – 084310 – Vivint v.           X                   MIL
       Lizarraga – Fourth Judicial
       District Court, Utah County, State
       of Utah, Civil No. 130401265;
       Memorandum in Support of Motion
       for Default Judgment



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                                             Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                           Auth.     Admiss.

668    VIVINT – 084769 – Vivint v.           X                   MIL
       Malaeulu – Fourth Judicial
       District Court of Utah County,
       Utah County, State of Utah, Civil
       No., 140401081; Memorandum in
       Support of Motion for Default
       Judgment
669    VIVINT – 085040 – Vivint v.           X                   MIL
       Mitchell – Fourth Judicial District
       Court, Utah County, State of Utah,
       Civil No. 130401279; Memorandum
       in Support of Motion for Default
       Judgment
Other
670   VIVINT-053650 – Recruiting and         X                   MIL
      Hiring Dates for Vivint Employees
671   VIVINT-053219 – Organizational         X                   MIL
      Information for Vivint Sales Force
672   VIVINT-031882 – Cases from Sales       X                   MIL
      Force (NATIVE Excel version)
673   VIVINT-103180 – Vivint Sales Rep       X                   MIL
      and Installer Info
674   VIVINT-103179 – Vivint Sales Rep       X                   MIL
      and Installer Info
675   VIVINT-118671 - Jordan Binning         X                   MIL
      Top 10 Reps
676   VIVINT-118673 - Region 2014            X                   MIL
      versus 2015
677   VIVINT-118674 - Top 10 2014            X                   MIL
      versus Top 10 2015
678   VIVINT-118675 - Final Complaints       X                   MIL
      Report Cody 9 5 2015 (Exhibit 10 to
      12/04/2017 30(b)(6) Deposition of
      Nathan Wilcox)
679   VIVINT-110354 - Attachment to          X                   MIL
      Email_Report to Sales VP
      5_21_2015
680   VIVINT-110388 - Report to Scott        X                   MIL
      Bell
681   VIVINT-117485 - Alex Amini             X                   MIL
      (Exhibit 11 to 12/04/2017 30(b)(6)
      Deposition of Nathan Wilcox)
682   VIVINT-118875 - Florida AVC            X                   MIL
683   Florida AVC Spreadsheet of             X                   MIL
      Florida Consumers Deceived by
      Vivint (No bates number) (Exhibit
      7 to 12/04/2017 30(b)(6) Deposition
      of Nathan Wilcox)
684   VIVINT-117152-117153 - 6_13_15         X                   MIL
      Email Chain



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                                             Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                           Auth.     Admiss.

685    VIVINT-068069-068082 - Wyoming        X                   MIL
       AG Letter Regarding Vivint
       Consumer Protection Violations
686    VIVINT-006917-006948 - 2016-          X                   MIL
       2017 Approved Fines
687    VIVINT-006969-007000 -                X                   MIL
       Disciplinary Action
688    VIVINT-006949-006968 - ADT Rep        X                   MIL
       Information
689    Reps Techs Disclosure - (No bates     X                   MIL
       number, included in Vivint’s First
       Production of Documents)
690    VIVINT-053682 – Additional            X                   MIL
       Vivint Disciplinary Actions
       (Exhibit 13 to 12/04/2017 30(b)(6)
       Deposition of Nathan Wilcox)
691    VIVINT-074846 - Vivint v. Vision      X                   MIL
       Security, Fourth Judicial District,
       Utah County, State of Utah, Civil
       No. 140400533; Affidavit of Sean
       Ricks in Support of Vivint, Inc.’s
       (1) Motion for an Order of
       Contempt Against Vision Security,
       LLC and (2) Motion in Limine to
       Admit Audio Recordings
692    VIVINT-075206 - Vivint v. Vision      X                   MIL
       Security, Fourth Judicial District,
       Utah County, State of Utah, Civil
       No. 100402378; Stipulated Motion
       for Entry of Injunction
693    VIVINT-075211 - Vivint v. Vision      X                   MIL
       Security, Fourth Judicial District,
       Utah County, State of Utah, Civil
       No. 100402378; Order of Injunction
694    VIVINT-075217 - February 25,          X                   MIL
       2014 Correspondence from
       Matthew Steward to Sonny Olsen
       regarding Notice of Violations of
       the Utah Truth in Advertising Act
695    VIVINT-075220 - June 20, 2014         X                   MIL
       Correspondence from Katherine
       Judd to R. Brett Evanson
       regarding Notice of Violation of
       Order of Injunction in Vivint, Inc.
       v. Vision Security, LLC, Case No.
       140400533
696    VIVINT-075235 - June 26, 2014         X                   MIL
       Correspondence from Katherine
       Judd to R. Brett Evanson
       regarding Notice of Violation of
       Order of Injunction in Vivint, Inc.



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                                             Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                           Auth.     Admiss.

       v. Vision Security, LLC, Case No.
       140400533
697    VIVINT-075254 - August 14, 2014       X                   MIL
       Correspondence from Katherine
       Judd to R. Brett Evanson
       regarding Notice of Violation of
       Order of Injunction in Vivint, Inc.
       v. Vision Security, LLC, Case No.
       140400533
698    VIVINT-075277 - Vivint v. Vision      X                   MIL
       Security, Fourth Judicial District
       Court, Utah County, State of Utah,
       Civil No. 140400533; Order
       Granting Motion in Limine to
       Admit Audio Recordings
699    VIVINT-075286 - Vivint v. Vision      X                   MIL
       Security, Fourth Judicial District
       Court, Utah County, State of Utah,
       Civil No. 140400533; Memorandum
       in Support of Vivint, Inc.’s Motion
       for Order of Contempt Against
       Vision Security, LLC
700    VIVINT-075300 - Vivint v. Vision      X                   MIL
       Security, Fourth Judicial District
       Court, Utah County, State of Utah,
       Civil No. 140400533; Vivint, Inc.’s
       Memorandum in Support of Motion
       in Limine to Admit Audio
       Recordings
701    VIVINT-075344 - Vivint v. Vision      X                   MIL
       Security, Fourth Judicial District
       Court, Utah County, State of Utah,
       Civil No. 140400533; Reply
       Memorandum in Support of Vivint,
       Inc.’s Motion for Order of
       Contempt Against Vision Security,
       LLC
702    VIVINT-077648 - Vivint v. Boyd,       X                   MIL
       Fourth Judicial District Court,
       Provo Department, Utah County,
       State of Utah, Civil No. 130401601;
       Memorandum in Opposition to
       Defendant’s Motion for Summary
       Judgment
703    VIVINT-082137 - Vivint v. Elite       X                   MIL
       Security Services, United States
       District Court for the District of
       Utah, Case No. 2:12-cv-00692;
       Order of Injunction Against Jeff
       Pickering




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                                           Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                         Auth.     Admiss.

704    VIVINT-082151 - Vivint v. Elite      X              MIL
       Security Services, United States
       District Court for the District of
       Utah, Case No. 2:12-cv-00692;
       Vivint, Inc.’s Reply Memorandum
       in Support of Motion in Limine to
       Admit Audio Recordings
705    VIVINT-082260 - Vivint v. Elite      X              MIL
       Security Services, United States
       District Court for the District of
       Utah, Case No. 2:12-cv-00692;
       Transcript of August 30, 2012
       Hearing for Preliminary Injunction
706    VIVINT-082318 - Vivint v. Elite      X              MIL
       Security Services, United States
       District Court for the District of
       Utah, Case No. 2:12-cv-00692;
       Transcript of May 31, 2013
       Hearing on Motion in Limine
707    VIVINT-090821 - Vivint v.            X              MIL
       Northstar Alarm Services, United
       States District Court for the
       District of Utah, Case No. 2:16-cv-
       00106; Vivint, Inc.’s Reply
       Memorandum Supporting Motion
       for Partial Summary Judgment on
       Its First Cause of Action for
       Declaratory Judgment
ESI Produced by Vivint after the Discovery Cut-off in ADT LLC and ADT Us Holding, Inc. v. Vivint,
Inc., Case No. 9:17-cv-80432-DMM (SD Fla)
708    VIVINT-110350 - 5-21-2015 Email      X              MIL
       exchange Baugh to Somers re
       update on reps who had more than
       three complaints and update on
       total complaints received [1/2]
709    VIVINT-110351-VIVINT-110352 -        X              MIL
       5-21-2015 Table of complaints from
       email exchange Baugh to Somers
       re update on reps who had more
       than three complaints and update
       on total complaints received [2/2]
710    VIVINT-110357-VIVINT-110358 -        X              MIL
       12-19-2014 Email chain Baugh to
       Muhlestein re customer complaints
       related to affiliation
       misrepresentation and takeover
       associated with sales rep Joshua
       Heaton (Exhibit 19 to 12/04/2017
       30(b)(6) Deposition of Nathan
       Wilcox)




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                                             Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                           Auth.     Admiss.

711    VIVINT-110361-VIVINT-110363 -         X                   MIL
       10-23-2014 Email chain Baugh to
       Rasolo re customer complaints
       related to affiliation
       misrepresentation,
       misrepresentation of contract,
       misrepresentation of
       equipment/services, and takeover
       associated with sales rep Kramer
       Holt (Exhibit 18 to 12/04/2017
       30(b)(6) Deposition of Nathan
       Wilcox)
712    VIVINT-110386 - 7-10-2014 Email       X                   MIL
       Rasolo to Baugh re customer slam
       complaint
713    VIVINT-110403 - 7-9-2014 Email        X                   MIL
       Rasolo to Bolik re customer
       complaint related to takeover
714    VIVINT-110409 - 5-28-2014 Email       X                   MIL
       chain White to Baugh re customer
       slam complaints
715    VIVINT-110459-VIVINT-110461 -         X                   MIL
       7-18-2014 Rasolo to Somers re
       customer complaints related to
       affiliation misrepresentation,
       takeover, credits promised by rep,
       and rep promised to cancel
       (Exhibit 15 to 12/04/2017 30(b)(6)
       Deposition of Nathan Wilcox)
716    VIVINT-110509-VIVINT-110510 -         X                   MIL
       3-19-2014 Email chain Rasolo to
       Somers re attached complaint
       report chart [VIVINT-110511] and
       feedback re sales tactics
       (Exhibit 16 to 12/04/2017 30(b)(6)
       Deposition of Nathan Wilcox)
717    VIVINT-110511 - 3-19-2014 Chart       X                   MIL
       sent by Rasolo to Somers re details
       of customer complaints related to
       allegations including affiliation
       misrepresentation, delayed
       payment, promise of unauthorized
       credit, forgery of contract, and
       takeovers [Attachment to VIVINT-
       110509-110510]
718    VIVINT-110769-VIVINT-110770 -         X                   MIL
       12-17-2014 Email chain Rasolo to
       Baugh re customer complaints
       related to affiliation
       misrepresentation and takeover




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                                              Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                            Auth.     Admiss.

719    VIVINT-111101 - 5-21-2014 Email        X                   MIL
       exchange Brown to Binning re
       update on reps who had more than
       three complaints and chart
       [VIVINT-111106] update on total
       complaints received [1/2]
720    VIVINT-111102 - 5-21-2014              X                   MIL
       Number of complaints by category
721    VIVINT-111103-VIVINT-111104 -          X                   MIL
       5-21-2014 Table of complaints from
       email exchange Brown to Binning
       re update on reps who had more
       than three complaints and chart
       [VIVINT-111106] on total
       complaints received [2/2] - table of
       complaints
722    VIVINT-111106 - 5-21-2014 Chart        X                   MIL
       sent by Brown to Binning re details
       of customer complaints related to
       allegations including affiliation
       misrepresentation, takeover,
       unauthorized credit pull, contract
       misrepresentation, forgery,
       coaching of survey, and
       unprofessional behavior
       [Attachment to VIVINT-111101
       and VIVINT-111103-111104]
723    VIVINT-111496-VIVINT-111503 -          X                   MIL
       2-27-2016 Email chain Brown to
       Rasolo re customer complaints
       related to allegations including
       affiliation misrepresentation,
       misrepresentation of services,
       takeover, unauthorized credit pull,
       unprofessional behavior, and
       forgery
724    VIVINT-111556 - 3-10-2017 Email        X                   MIL
       chain Frandsen to Brown re
       attached Vivint Sales Training
       Manual [VIVINT-111557-111592]
       (Exhibit 3 to 12/04/2017 30(b)(6)
       Deposition of Nathan Wilcox
725    VIVINT-111557-VIVINT-111592 -          X                   MIL
       3-10-2017 Vivint Sales Training
       Manual attached to email sent
       from Frandsen to Brown [VIVINT-
       111556] (Exhibit 1 to 12/04/2017
       30(b)(6) Deposition of Nathan
       Wilcox)
726    VIVINT-111706-VIVINT-111708 -          X                   MIL
       6-8-2016 Email chain Veibell to



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                                            Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                          Auth.     Admiss.

       Amini re whether to fine sales rep
       for activity related to customer
       complaint
727    VIVINT-111722-VIVINT-111723 -        X                   MIL
       5-22-2015 Email chain Rasolo to
       Binning re customer complaints
       related to allegations related to
       affiliation misrepresentation,
       forgery, and takeover associated
       with sales rep Mark Ogletree
728    VIVINT-111772 - 2-25-2014 Email      X                   MIL
       chain Wallace to Dunn re meeting
       with CEO of ADT
729    VIVINT-111787 - 11-2013 Vivint       X                   MIL
       Operational Efficiencies chart
730    VIVINT-111873 - 9-2014 Vivint        X                   MIL
       chart detailing Field Service
       Dashboard, SWAT-RAM, Human
       Resources, and Facilities
731    VIVINT-112023-VIVINT-112024 -        X                   MIL
       11-19-2013 Email chain Gerard to
       Pauley re attached document
       [VIVINT-112025] covering topics to
       be discussed at 11/19/13 board
       meeting
732    VIVINT-112025-VIVINT-112139 -        X                   MIL
       11-19-2013 Document attached to
       email exchange Gerard to Pauley
       [VIVINT-112023] re topics to be
       discussed at 11/19/13 board
       meeting
733    VIVINT-112363 - 6-13-2014 Email      X                   MIL
       exchange Bywater to Dunn re
       attached Vivint BBB Breakdown
       presentation [VIVINT-112365]
       (Exhibit 8 to 12/04/2017 30(b)(6)
       Deposition of Nathan Wilcox)
734    VIVINT-112365-VIVINT-112398 -        X                   MIL
       6-13-2014 Vivint BBB presentation
       attached to email exchange
       Bywater to Dunn [VIVINT-112363]
       (Exhibit 4 to 12/04/2017 30(b)(6)
       Deposition of Nathan Wilcox)
735    VIVINT-112557-VIVINT-112600 -        X                   MIL
       5-2013 Vivint Full Potential Plan
       draft document
736    VIVINT-113113 - 7-26-2014 Email      X                   MIL
       Eyring to Dunn re attached Vivint
       BBB Complaint Analysis document
       [VIVINT-113114]




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                                             Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                           Auth.     Admiss.

737    VIVINT-113114-VIVINT-113175 -         X                   MIL
       7-26-2014 Vivint BBB Complaint
       Analysis document, attached to
       Email Eyring to Dunn [VIVINT-
       113113], dated 6-2014 (Exhibit 5 to
       12/04/2017 30(b)(6) Deposition of
       Nathan Wilcox)
738    VIVINT-113205-VIVINT-113337 -         X                   MIL
       5-2012 Vivint Information
       Memorandum
739    VIVINT-113990-VIVINT-113995 -         X
       11-13-2013 Email Hardy to Dunn
       re narrative for Vivint board
       presentation (Exhibit 6 to
       12/04/2017 30(b)(6) Deposition of
       Nathan Wilcox)
740    VIVINT-114468-VIVINT-114549 -         X                   MIL
       7-18-2013 Vivint Board Meeting
       presentation
741    VIVINT-115466-VIVINT-115467 -         X                   MIL
       11-12-2014 Email chain Rasolo to
       Baugh re customer complaints
       related to affiliation
       misrepresentation,
       misrepresentation of contract, and
       takeover related to sales rep
       Lawrence Reader
742    VIVINT-115520-VIVINT-115581 -         X                   MIL
       6-2014 Vivint BBB Complaint
       Analysis document
743    VIVINT-116274-VIVINT-116275 -         X                   MIL
       9-6-2016 Email chain Santiago to
       Dunn re ADT communication
       related to Inside Edition story
       about deceptive sales practices
744    VIVINT-117152-VIVINT-117153 -         X                   MIL
       6-13-2015 Email exchange Binning
       to Santiago re customer complaints
       related to sales rep Mark Ogletree
745    VIVINT-117642-VIVINT-117643 -         X                   MIL
       9-7-2016 Email chain Hardy to
       Santiago re ADT communication
       related to Inside Edition story
       about deceptive sales practices
746    VIVINT-118707 - 3-31-2017 Email       X                   MIL
       Young to Gubler re attached Vivint
       SmartHome Sales Training
       Manual [VIVINT-118708] (Exhibit
       2 to 12/04/2017 30(b)(6) Deposition
       of Nathan Wilcox)




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                                             Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                           Auth.     Admiss.

747    VIVINT-118708-VIVINT-118743 -         X                   MIL
       3-31-2017 Vivint SmartHome Sales
       Training Manual attached to Email
       Young to Gubler [VIVINT-118707]
Other
748    Vivint Smart Home, Inc. Q2 2021       X                   F, R
       Earnings Call, Aug. 03, 2021,
       Corrected Transcript
Vivint 30(b)(6) Depositions and Exhibits in CPI v. Vivint
749    Article – Vivint Introduces Daniel                        F, R, A,
       Garen as Chief Ethics and                                 NP
       Compliance Officer (used in
       Hansen 30(b)(6) Dep., Vol. I)
750    Vivint Intranet Article –             X                   F,R, IC
       Motivational Monday,
       VIVINT000664 (used in Fowler
       30(b)(6) Dep.)
751    Entries from VIVINT1352 (P90)         X                   MIL, IC,
       Related to Laura Ward Account                             H, S, F
       (used in Hansen 30(b)(6) Dep., Vol.
       II)
752    Stipulated Final Judgment, People X                       MIL, IC,
       of the State of California v. Vivint,                     R, NP,
       Inc. (used in Hansen 30(b)(6) Dep.,                       UP, F
       Vol. II)
753    Plaintiff CPI’s 5th Amended Notice    X                   CU, DD
       of 30(b)(6) Deposition of Vivint
       Corporate Designee(s) (Dep. Ex. 1
       in Kelliher 30(b)(6) Dep.)
754    Vivint 10-Q, 3Q 2021(Dep. Ex. 2 in X                      F, R
       Kelliher 30(b)(6) Dep.)
755    Vivint 30(b)(6) Deposition of         X                   F, R, DD
       Patrick Kelliher, 11/30/2021
756    Vivint 30(b)(6) Deposition of Kent    X                   F, R, DD
       Hansen, 11/30/2021 (Vol I)
757    Vivint 30(b)(6) Deposition of Kent    X                   F, R, DD
       Hansen, 12/1/2021 (Vol II)
758    Vivint 30(b)(6) Deposition of Starr   X                   F, R, DD
       Fowler, 12/1/2021
Other
759    Ring Video of Doorstep Interaction                        F, A, R,
       with Vivint sales rep dated                               IC, H,
       9/25/2021 provided by Terrell                             NP, UP
       Harris (ADT00029406)
760    Deposition of Terrell Harris, taken   X                   F, R, DD,
       on 12/9/2021                                              MIL
761    Takeover strategy from 2013 Board X                       F, R
       meeting (114009-17)
       VIVINT113998




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                                            Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                          Auth.     Admiss.

762    Betty Nicholson Audio – Call re      X                   MIL, H,
       Buyout VIVINT0000129                                     IC, F, R
763    Andre Johnson Video – Customer       X                   MIL, H,
       Statement VIVINT0000073                                  IC, F, R
764    Charlene Gooding Additional          X                   MIL, H,
       Audio VIVINT0000154                                      IC, F, R
765    Rita Williams Audio – Survey Q15     X                   MIL, H,
       Responses VIVINT0000947                                  IC, F, R
766    Roderick Goodwin Audio – Survey      X                   MIL, H,
       Q10 Affiliation VIVINT0000962                            IC, F, R
767    Ruth Young Additional Audio          X                   MIL, H,
       VIVINT0000964                                            IC, F, R
768    Georgia Savage Audio, 04-14-21       X                   MIL, H,
       VIVINT005819                                             IC, F, R
769    Georgia Savage Audio, 04-14-21       X                   MIL, H,
       VIVINT005822                                             IC, F, R
770    Shana Cooper Preinstall              X                   MIL, H,
       VIVINT008582                                             IC, F, R
771    Shana Cooper Preinstall audio        X                   MIL, H,
       VIVINT008590                                             IC, F, R
772    Shana Cooper Call VIVINT008591       X                   MIL, H,
                                                                IC, F, R
773    Vanessa Holmes Call                  X                   MIL, H,
       VIVINT009279                                             IC, F, R
774    Dewan Faison rep declined to         X                   MIL, H,
       increase $ VIVINT0000323                                 IC, F, R
775    Email chain Roberts to Santiago re   X                   MIL, H,
       Santiago Fraud Reports 4-24-15                           IC, F, R
       VIVINT117273
776    Email chain Boone to Nate re         X                   MIL, H,
       Cameron Kimball 07-09-20                                 IC, F, R
       VININT017608
777    Email chain Koyle to Voeks re        X                   MIL, H,
       Sheila Cooper Buyout 03-31-21                            IC, F, R
       VIVINT018428
778    Statement of FTC Commissioner        X                   MIL, H,
       Rohit Chopra 04-29-21                                    IC, F, R
779    US v Vivint Smart Home, Inc.         X                   MIL, H,
       Settlement Agreement 01-05-21                            IC, F, R,
                                                                SD
780    Email Bywater to Dunn re Board       X                   F, R, IC
       Presentation 11-07-2013
       VIVINT113997
781    Video of Interaction with Vivint                         H, A, F,
       Sales Person on May 19, 2019                             R, IC
       provided by Matthew Kurtz
782    Assignment of Trademarks to CPI                          WNP
       Security Systems Inc - USPTO




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                                            Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                          Auth.     Admiss.

783    CPI US Patent and Trademark                              WNP
       Office Notice of Renewal re
       7583084, 07/26/2022
784    CPI US Patent and Trademark                              WNP
       Office Notice of Renewal re
       75873186, 07/26/2022
785    SEC Filing – Vivint Form 10-K for    X                   R
       Year Ending 12/31/2021
786    SEC Filing – Vivint Form 10-Q        X                   R
       Quarter Ending 09/30/2022
787    SEC Filing – Vivint Acquisition –                        WNP
       Schedule 14C Information,
       01/09/2023
788    SEC Filing – Vivint Acquisition –                        WNP
       Statement of Changes in Beneficial
       Ownership (1), 01/19/2023
789    SEC Filing – Vivint Acquisition –                        WNP
       Statement of Changes in Beneficial
       Ownership (2), 01/19/2023
790    SEC Filing – Vivint Acquisition –                        WNP
       Information Statement – Merger or
       Acquisition (Final), 01/20/2023
791    Hansen 01/16/2023 Depo Ex. 1 –                           WNP
       Vivint Pay Stubs
       (VIVINT00003760-6205)
792    Hansen 01/16/2023 Depo Ex. 2 –                           WNP
       Excel Spreadsheet of Vivint
       Complaints (VIVINT00026660)
793    Hansen 01/16/2023 Depo Ex.3 –                            WNP
       Excel Spreadsheet of Vivint
       Complaints (VIVINT00026660.001)
794    Hansen 01/16/2023 Depo Ex. 4 –                           WNP
       Spreadsheet of Vivint Complaints
       (VIVINT00026737-26738)
795    Hansen 01/16/2023 Depo Ex. 5 –                           WNP
       Excel Spreadsheet of Vivint
       Complaints (VIVINT00026739)
796    Hansen 01/16/2023 Depo Ex. 6 –                           WNP
       Vivint Legal Investigation
       Spreadsheet Produced on
       10/01/2021 [Not Fired]
797    Hansen 01/16/2023 Depo Ex. 7 –                           WNP
       Jason Newby Pay Earnings for
       11/01/2020 – 11/30/2020,
       (VIVINT00006448)
798    Hansen 01/16/2023 Depo Ex. 8 –                           WNP
       Declaration of Clark Hymas,
       05/17/2021, (VIVINT00006550-
       6558)
799    Hansen 01/16/2023 Depo Ex. 9 –                           WNP
       Tawana Clark Email to Joshua


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                                           Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                         Auth.     Admiss.

      Brown encl Screenshots of Text
      Messages between Clark and
      Vivint Sales Representative,
      03/21/2022
800   Press Release – NRG Energy, Inc.                         WNP
      to Acquire Vivint Smart Home,
      12/06/2022
801   Press Release – NRG Energy, Inc.                         WNP
      – Creating the Leading Essential
      Home Services Provider,
      Announcing Definitive Agreement,
      to Acquire Vivint 12/06/2022
802   Consent Judgment (Arizona v                              WNP
      Vivint), 03/22/2022
803   Consent Judgment (Arkansas v                             WNP
      Vivint), 06/08/2012
804   Assurance of Voluntary                                   WNP
      Compliance (North Dakota v
      Vivint), 09/07/2011
805   Assurance of Voluntary                                   WNP
      Compliance (Oregon - In the Matter
      of APX Alarm Security Solutions,
      Inc.), 04/27/2010
806   Assurance of Voluntary                                   WNP
      Compliance (Texas v Vivint),
      05/24/2017
807   Settlement Agreement (Wyoming -                          WNP
      In the Matter of Vivint, Inc.),
      05/24/2017
Other Exhibits Offered at Trial




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                                            Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                          Auth.     Admiss.




Miscellaneous
       Without waiving any objections or
       conceding the admissibility or
       relevance of any such exhibit, all
       exhibits listed by Defendants.




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                                               Stip of   Stip of   Objections   Identified By   Admitted
No.    Description                             Auth.     Admiss.

       Exhibits needed for rebuttal or
       impeachment.
       Charts, diagrams, photographs,
       summaries, compilations or
       demonstrative exhibits being
       prepared for presentation at trial.
       All expert files, curriculum vitae,
       and/or reports submitted by any
       party to this action.
       All pleadings filed and/or
       exchanged in the instant matter,
       including but not limited to
       discovery pleadings.
       All documents produced by any
       party to this action.
       All documents produced by any
       non-party to this action pursuant
       to records request or subpoena.
       All expert reports submitted by
       any party to this litigation.
       All transcripts of depositions taken
       in this litigation, videos of such
       depositions, and exhibits thereto.
       Plaintiff reserves the right to
       identify additional witnesses,
       deposition testimony, and exhibits
       that may become available through
       additional investigation or
       discovery, or that otherwise appear
       necessary to the prosecution of this
       action after further preparation for
       trial. Plaintiff further reserves the
       right to not offer any of the
       exhibits, deposition testimony, or
       witnesses on this list. Plaintiff
       reserves the right to object to the
       admissibility of any exhibit listed
       herein.



        CPI     EXPRESSLY            RESERVES               THE       RIGHT        TO     AMEND        OR

SUPPLEMENT THIS EXHIBIT LIST.



Dated: February 2, 2023                             Respectfully submitted,

                                                    SHOOK, HARDY & BACON L.L.P.


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      Case 3:20-cv-00504-FDW-DSC Document 137 Filed 02/02/23 Page 60 of 62
                           By: /s/ Caroline M. Gieser
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                            CERTIFICATE OF SERVICE

      I certify that on the 2nd day of February, 2023, I have electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system, which will

send notification of filing to all counsel and parties of record.


                                             /s/ Caroline M. Gieser




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